              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 1 of 80



1                                                                             Honorable James L. Robart
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8                              UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
9

10   RICHARD DWYER,                                        )       NO. 2:20-cv-01236-JLR-MAT
                                                           )
11          Plaintiff,                                     )       PLAINTIFF’S RESPONSE
                                                           )       TO DEFENDANT’S
12                  v.                                     )       MOTION TO DISMISS
                                                           )
13   TRINITY FINANCIAL SERVICES, LLC,                      )       Note on Motion Calendar:
                                                           )
14          Defendant.                                     )       Friday, March 12, 2021
                                                           )
15                                                         )       Oral Argument Requested
16          Plaintiff RICHARD DWYER, through his attorney RICHARD L. POPE, JR., presents

17   this response to Defendant Trinity Financial Services, Inc.’s Motion to Dismiss (dkt. 24).

18                       MOTION FOR EXTENSION OF TIME (separately noted)

19          Plaintiff has filed a separate motion for extension of time (dkt. 25) and maintains that

20   motion. Plaintiff will seek leave of court under Rule 15 F.R.Civ.P. to file an amended complaint

21   to more fully set forth his case and add additional claims in the very near future in any event.

22                        RELIEF REQUESTED ON DEFENDANT’S MOTION

23          1.      All of Defendant’s motion to be dismissed should be denied, except for dismissal

24   of Plaintiff’s Sixth Claim for Relief under RCW 19.148.030(2). If an amended complaint is

25   permitted, Plaintiff will not include any claims related to RCW 19.148.030(2).

26          2.      Plaintiff should be permitted to file an amended complaint to add additional claims

27   for relief and to resolve any pleading deficiency issues in Plaintiff’s state court filed complaint.

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              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 2 of 80



1           3.      Defendant has not identified any contractual provisions that would allow recovery

2    of attorney fees against Plaintiff for an unsuccessful lawsuit related to the claims in this lawsuit.

3           4.      There is no bad faith by Plaintiff which would permit recovery of attorney fees in

4    the event that Plaintiff’s FDCPA claims were dismissed by the Court.

5           5.      Plaintiff objects to consideration of the purported August 13, 2015 letter presented

6    by Defendant at dkt. 24-2. At best, this letter, if believed true, might offer Defendant a factual

7    defense. Plaintiff never received this letter and believes the same to be a recent creation.

8           6.      Plaintiff notes that Defendant’s rights (if any) to receive the mortgage loan

9    payments being disputed by Plaintiff would be a compulsory counterclaim that has not, to date,

10   been asserted by Defendant as required by Rule 13(a)(1) F.R.Civ.P. and that outright dismissal

11   would operate a res judicata to prevent Defendant from collecting anything on the loan at issue.

12           Standard for Determining Rule 12(c) Motions for Judgment on the Pleadings

13          A motion for judgment on the pleadings under Rule 12(c) F.R.Civ.P. or a motion to dismiss

14   for failure to state a claim under Rule 12(b) F.R.Civ.P. are judged on the same legal basis. Such a

15   motion should be granted only if it appears beyond doubt that the plaintiff can prove no set of facts

16   in support of its claim which would entitle it to relief. Conley v. Gibson, 355 U.S. 41 (1957);

17   California Dump Truck Owners Ass'n v. Associated General Contractors, 562 F.2d 607 (9th Cir.

18   1977). When considering a motion to dismiss for failure to state a claim, the court must take

19   factual allegations of the complaint as true and resolve any ambiguities or doubts regarding

20   sufficiency of claim in favor of plaintiff. Fernandez-Montes v. Allied Pilots Ass'n, 987 F.2d 278

21   (5th Cir. 1993).

22          Since this case was originally started by Plaintiff in King County Superior Court, sufficiency

23   of the complaint should be judged by Wash. CR 12(b)(6) (analogous to its federal counterpart) and

24   state case law – and if not, Plaintiff should be given leave to amend. "Federal cases are of interest

25   but not binding". Orwick v. City of Seattle, 103 Wn.2d 249, 256, 692 P.2d 793 (1984).

26          In Orwick, the Washington Supreme Court upheld an extremely poorly drafted complaint

27   against a CR 12(b)(6) motion, even though "[T]he legal basis for [plaintiff's] claim [was] neither

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1    clear from the pleadings, nor [was] it adequately developed in the briefs." 103 Wn.2d at 254. CR

2    12(b)(6) motions are granted only "sparingly and with care":

3                 Dismissal for failure to state a claim may be granted only if "it appears beyond
            doubt that the plaintiff can prove no set of facts, consistent with the complaint, which
4           would entitle the plaintiff to relief".... [citation omitted]
5                  As to the facts, the complaint survives a CR 12(b)(6) motion if any state of
            facts could exist under which the claim could be sustained.... [citation omitted]
6           (emphasis in original)
7    Orwick, 103 Wn.2d at 254-55.

8           Defendant chose to remove this action to federal court. Upon removal, Defendant had the

9    option of testing the sufficiency of Plaintiff’s complaint under the federal pleading standards by

10   filing a Rule 12(b)(6) motion. Defendant chose not to, and instead answered the complaint.

11   Plaintiff should be allowed the opportunity to amend his complaint from the more lenient state law

12   standards, to the higher standard of specificity of pleading required under federal case law, now that

13   Defendant has finally filed a motion challenging pleading sufficiency. Plaintiff will in any event be

14   asking permission shortly to file an amended complaint, as previously noted.

15                      Objection to Purported August 13, 2015 Letter at Dkt. 24-2

16          Generally, the scope of review on a motion to dismiss for failure to state a claim is limited to

17   the contents of the complaint. See Warren v. Fox Family Worldwide, Inc., 328 F.3d 1136, 1141 n. 5

18   (9th Cir. 2003). A court may consider evidence on which the complaint "necessarily relies" if: (1)

19   the complaint refers to the document; (2) the document is central to the plaintiff's claim; and (3) no

20   party questions the authenticity of the copy attached to the 12(b)(6) motion. See Branch v. Tunnell,

21   14 F.3d 449, 453-54 (9th Cir.1994), overruled on other grounds by Galbraith v. County of Santa

22   Clara, 307 F.3d 1119 (9th Cir.2002); see also Warren, 328 F.3d at 1141 n. 5, Chambers v. Time

23   Warner, Inc., 282 F.3d 147, 153 n. 3 (2d Cir.2002). The court may treat such a document as "part of

24   the complaint, and thus may assume that its contents are true for purposes of a motion to dismiss

25   under Rule 12(b)(6)." United States v. Ritchie, 342 F.3d 903, 908 (9th Cir.2003).

26          Defendant has offered a purported August 13, 2015 letter, that Defendant claims to have

27   sent Plaintiff notifying that servicing of the loan was transferred from Dreambuilder Investments

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 4 of 80



1    LLC to Defendant. (dkt. 24-2) This letter is NOT referred to in Plaintiff’s complaint, which

2    instead states that Plaintiff received no notice whatsoever from anyone related to the second

3    mortgage loan from before February 28, 2008, when Plaintiff filed a bankruptcy, until April 8,

4    2020, when Defendant sent a letter to Plaintiff. (Complaint, ⁋⁋ 8-10) Instead of referring to the

5    purported August 13, 2015 letter, the Complaint disputes its very existence. While the letter

6    might be relevant to Defendant’s defense, it is obviously in no way part of Plaintiff’s claims.

7           Plaintiff also believes the purported August 13, 2015 letter to be a recent fabrication, with

8    Defendant attempting to falsely say Plaintiff was given notice it was a loan servicer. Defendant

9    did not a Consumer Loan Company License from Washington until January 10, 2018 – legally

10   required in order to service a residential mortgage loan (regardless of whether a company

11   services loans that they own or services loans that others own) under RCW 31.04.035(1).

12   Violation of this law, in addition to being a crime under RCW 31.04.175(1), is also a violation of

13   the Washington Consumer Protection Act under RCW 31.04.208, which provides for money

14   damages and other civil relief. (The prior alleged servicer, Dreambuilder, has never had a loan

15   servicing license in Washington.) The fact that neither Defendant nor Dreambuilder had any

16   license to service loans in 2015 makes it less likely they would have notified Plaintiff that either

17   was a loan servicer. Silence about servicing and transfer of servicing is consistent with the total

18   lack of communication for over 12 years about the loan. In any event, Plaintiff need merely

19   deny the veracity of the alleged letter to prevent its consideration on a Rule 12(c) motion.

20                       Summary of Main Relevant Facts Pertaining to Claims

21          The following are taken from the main statement of facts in Plaintiff’s Complaint and all

22   must be assumed to be true for the purposes of a Rule 12(c) motion. There are additional facts in

23   various sections of the individual causes of action set forth in Plaintiff’s complaint, and there are

24   additional facts, consistent with Plaintiff’s complaint, which can support Plaintiff’s complaint.

25          4.     Plaintiff owns a home he where he resides in King County, Washington at the

26   street address of 25322 113th Ave SE, Kent, Washington 98030 and the legal description of:

27

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 5 of 80


           LOT I, CITY OF KENT SHORT PLAT NO. SP 90-19 RECORDED UNDER
1          RECORDING NO. 9102140575, BEING A PORTION OF THE SOUTHEAST
           QUARTER OF THE NORTHWEST QUARTER OF THE SOUTHEAST
2          QUARTER OF THE SOUTHEAST QUARTER OF SECTION 20, TOWNSHIP
           22 NORTH, RANGE 5 EAST, W.M., IN KING COUNTY, WASHINGTON.
3          SITUATE IN THE COUNTY OF KING, STATE OF WASHINGTON. (Assessor
           Tax Parcel No. 202205-9071)
4
            5.     On July 12, 2006, Plaintiff executed two deeds of trust on his home in favor of
5
     Mortgage Electronic Registration Systems, Inc. (MERS) as beneficiary. In reality, MERS was
6
     “nominee” under these deeds of a trust for Ownit Mortgage Solutions, Inc., who was intended to
7
     be the true beneficial owner under these deeds of trust. There was a first position deed of trust in
8
     the amount of $209,600.00 recorded under King County Recording No. 20060717000986 and a
9
     second position deed of trust in the amount of $52,400.00 recorded under King County
10
     Recording No. 20060717000987. Both of these documents were recorded on July 17, 2006.
11
            6.     Plaintiff paid no more than a few payments on the second position deed of trust,
12
     reducing the principal balance to $52,396.20. Plaintiff has not made any payments on the second
13
     position deed of trust since some time prior to December 31, 2006.
14
            7.     Shortly after Plaintiff executed the second position deed of trust, Ownit Mortgage
15
     Solutions, Inc. transferred beneficial interest in the same to Greystone Solutions, Inc. In turn,
16
     Greystone Solutions, Inc., gave notice to Plaintiff that it now owned the second position deed of
17
     trust. No recordings were filed in connection with this change of ownership with the King
18
     County Recorder’s Office, with MERS remaining as legal beneficiary in the public records.
19
            8.     On February 28, 2008, Plaintiff filed a Chapter 13 bankruptcy in the United States
20
     Bankruptcy Court for the Western District of Washington at Seattle, No. 08-11106-KAO.
21
     Plaintiff’s main objective was to keep his home and to avoid loss through foreclosure. This
22
     Chapter 13 bankruptcy was dismissed without plan confirmation on January 30, 2009.
23
            9.     Greystone Solutions, Inc. was listed as a secured creditor on Plaintiff’s 2008
24
     Chapter 13 bankruptcy, and was given notice of the bankruptcy filing at both a Buffalo, New
25
     York street address and a Medford, Massachusetts post office box address. Greystone Solutions,
26
     Inc. did not file a proof of claim or otherwise communicate regarding Plaintiff’s bankruptcy.
27

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 6 of 80



1           10.    Plaintiff did not hear anything further from Greystone Solutions, Inc. or anyone

2    else claiming to hold any interest in the second position deed of trust until April 8, 2020, when

3    Defendant mailed a letter and other materials claiming to own the second position deed of trust.

4           11.    On April 27, 2017, Plaintiff filed a Chapter 13 bankruptcy in the United States

5    Bankruptcy Court for the Western District of Washington at Seattle, No. 17-11970-CMA.

6    Plaintiff’s main objective was to keep his home and to avoid loss through foreclosure. There

7    was a pending foreclosure action on the first position deed of trust, which by that time was being

8    serviced by Select Portfolio Servicing.

9           12.    By the time of the April 27, 2017 Chapter 13 bankruptcy filing, Plaintiff had not

10   heard anything from Greystone Solutions, Inc. or anyone else claiming an interest in the second

11   position deed of trust since prior to the February 28, 2008 Chapter 13 bankruptcy filing. Plaintiff

12   assumed that Greystone Solutions, Inc. or whoever claimed an interest had abandoned all hope

13   of ever collecting anything and that the holder of the second position deed of trust had decided

14   the obligation was barred by the statute of limitations and was no longer legally enforceable.

15   Plaintiff did not list Greystone Solutions, Inc. or anyone else on the 2017 bankruptcy filing, due

16   to the large passage of time and the lack of actual knowledge of the second deed of trust holder.

17          13.    When Plaintiff filed the 2017 Chapter 13 bankruptcy, there was a total of about

18   $366,567.00 owed on the first position deed of trust, with the fair market value of his home

19   being about $303,000.00. Even without consideration of the second position deed of trust, the

20   debt on the first position deed of trust exceeded the fair market value of the property by over

21   $60,000.00. In spite of the property being significantly upside down, even with consideration of

22   just the first position deed of trust, Plaintiff placed considerable value on being able to own and

23   keep his home, and was willing to rehabilitate and pay down the first deed of trust to do this.

24          14.    By contrast, had the holder of the second position deed of trust been currently

25   asserting any secured interest at the time of the 2017 Chapter 13 bankruptcy, Plaintiff would not

26   have been willing to also pay off the second deed of trust in order to save and keep his home –

27   especially since debt would have exceeded value by considerably more than $100,000.00.

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 7 of 80



1           15.    In addition, had the holder of the second position deed of trust been currently

2    asserting any secured interest at the time of the 2017 Chapter 13 bankruptcy, Plaintiff would

3    have been able to completely eliminate any security interest of the second deed of trust in an

4    adversary proceeding that could have been filed in conjunction with the bankruptcy case. The

5    second position deed of trust was fully unsecured in economic terms, since the first position deed

6    of trust fully encumbered the fair market value of Plaintiff’s home. Since there was no actual

7    economic position in the home securing the second position deed of trust, its legal secured

8    interest in Plaintiff’s home could have been eliminated through an adversary proceeding.

9           16.    Plaintiff made considerable economic payments through the 2017 Chapter 13

10   bankruptcy case, in reliance upon no claim being asserted by any purported holder of the second

11   position deed of trust. Plaintiff paid $2,000.00 in an advance payment for his attorney fees,

12   $310.00 payment for the filing fee, and $53,596.00 in Chapter 13 plan payments through the

13   Chapter 13 Bankruptcy Trustee. Of this $53,596.00 in Chapter 13 plan payments, $1,500.00

14   went for the balance of Plaintiff’s attorney fees, $4,534.19 for Chapter 13 trustee administrative

15   costs, and $49,061.81 in disbursements to creditors. Of these creditor disbursements, $25,544.19

16   went towards current payments on the first position deed of trust and another $5,110.49 towards

17   arrearages on the first position deed of trust. As a result of both the reduction in the amount

18   owed on the first position deed of trust and appreciation of the value of Plaintiff’s home during

19   the 2017 Chapter 13 bankruptcy (which was dismissed on January 10, 2019), the interests of the

20   first position deed of trust holder in Plaintiff’s home were considerably improved. Moreover, if

21   costs of sale were not considered, there may be some fair market value in the Plaintiff’s home at

22   July 2020 values, that would be applicable to a second position deed of trust, even though a

23   foreclosure sale (or even regular sale) would net nothing for the second position whatsoever.

24          17.    On August 1, 2016, MERS executed an assignment of the second position deed of

25   trust to Defendant. This assignment was recorded by Defendant with King County Records on

26   August 24, 2016 under recording number 20160824001578. Defendant did not provide any

27   notice to this assignment to Plaintiff until a letter and other materials were mailed April 8, 2020.

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              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 8 of 80



1           18.     Defendant registered with the Washington Secretary of State as a foreign LLC on

2    October 9, 2014. Defendant obtained an Out-of-State Collection Agency license from the

3    Washington Department of Licensing on December 22, 2014.

4           19.     Under the amendments enacted by Laws 2013, Chapter 148, Section 1, which

5    became effective on October 1, 2013 and are currently found at RCW 19.16.110(4)(d), “any

6    person or entity that is engaged in the business of purchasing delinquent or charged off claims

7    for collection purposes, whether it collects the claims itself or hires a third party for collection or

8    an attorney for litigation in order to collect such claims” must have a collection agency license.

9           20.     Defendant has purchased at least 50 delinquent second position deeds of trust in

10   King County since 2013 (at least 10 of which were purchased while Defendant did not have the

11   required collection agency license) and probably around 150 to 200 such delinquent second

12   position deeds of trust in all of Washington during the same time period.

13          21.     Defendant’s license as an Out-of-State Collection Agency pursuant to RCW

14   19.16.100(11) would allow Defendant to solely “collect[] debts from debtors located in this state

15   by means of interstate communications, including telephone, mail, or facsimile transmission,

16   from [Defendant’s] location in another state”. This would allow Defendant to send letters,

17   telephone calls and e-mails to Washington homeowners urging them to pay the delinquent loans

18   they had purchased, but would prohibit activities physically taking place in Washington, such as

19   filing collection lawsuits or foreclosure lawsuits or having trustee foreclosure sales conducted.

20          22.     According to a search of court records and property records in King County, there

21   have been no lawsuits filed by Defendant or attempts to conduct any trustee foreclosure sale.

22   Based on this lack of action in King County and presumed lack of similar action elsewhere in

23   Washington, Defendant does not actually intend to file any lawsuit or conduct any foreclosures.

24          23.     The letter Defendant mailed Plaintiff on April 8, 2020 stated that Defendant had a

25   valid security interest in Plaintiff’s home that could be enforced by foreclosure against the

26   property. Defendant requested Plaintiff make contact to negotiate payment arrangements with

27   Defendant of this alleged security interest and provide Defendant personal financial information.

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                  Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 9 of 80



1      Statute of Limitations Claim is Valid for At Least Some Installments, if Not Entire Loan

2            The second mortgage deed of trust loan is an installment note contract dated July 11,

3    2006, which calls for 360 installments of principal and interest starting on September 1, 2006

4    and ending on August 1, 2006. (dkt. 24-1 at 2) Plaintiff, at most, paid the September 1, 2006

5    installment. All installments due before March 8, 2015 are now time-barred, at the minimum.1

6            A deed of trust with monthly loan payments is a written installment contract. Written

7    contracts are subject to a six-year limitations period in Washington. See RCW 4.16.040(1). For

8    installment contracts, each installment triggers the limitations period for that missed payment:

9    "[W]hen recovery is sought on an obligation payable by installments[,] the statute of

10   limitations runs against each installment from the time it becomes due; that is, from the time

11   when an action might be brought to recover it." Herzog v. Herzog, 23 Wn.2d 382, 388, 161 P.2d

12   142, 144-45 (1945); see also 25 David K. Dewolf, Keller W. Allen & Darlene Barrier Caruso,

13   Washington Practice: Contract Law and Practice § 16:20, at 196 (2012-13 Supp.) ("Where a

14   contract calls for payment of an obligation by installments, the statute of limitations begins to

15   run for each installment at the time such payment is due."). see also Jarvis v. Fed. Nat'l Mortg.

16   Ass'n, Case No. C16-5194-RBL (W.D. Wa. 04/24/2017)

17           As Defendant concedes, if the facts show that a prior holder of the second mortgage made

18   an acceleration demand or wrote off the loan more than six years ago, the entire amount due on

19   the deed of trust would be time barred. For purposes of a Rule 12(c) motion, these hypothetical

20   facts must be assumed to exist and would bar dismissal at the pleading stage.

21           But even absent acceleration or write off more than six years ago, all monthly installments

22   that were due more than six years ago (everything due before March 8, 2015) is now time barred.

23   Frankly, even on a Rule 56 motion, Defendant would not be able to avoid summary judgment in

24   Plaintiff’s favor time barring these long past due installments. Certainly, Plaintiff’s Complaint

25   on statute of limitations must survive the very low bar of a Rule 12(c) motion in any event.

26            1
                        Defendant has not counterclaimed on the promissory note at issue in this litigation. If such a
     counterclaim were made in this action, it might relate back to the August 2, 2020 initiation of this lawsuit by service
27   in state court. Since no counterclaim has been interposed to date, the statute of limitations clock keeps running.

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 10 of 80



1                               Plaintiff’s Claim for Laches is Also Valid

2          As a preliminary matter, Defendant incorrectly asserts that the ONLY way Plaintiff may

3    obtain a quiet title judgment under Washington law is RCW 7.28.300, relating to a “mortgage or

4    deed of trust would be barred by the statute of limitations”. Defendant’s position is incorrect.

5          The general statute for quieting title in Washington is RCW 7.28.010, which provides the

6    basis for anyone claiming an interest in real property to quiet the alleged interests of anyone

7    asserted not to have a valid interest: “Any person having a valid subsisting interest in real

8    property, and a right to the possession thereof, may recover the same by action in the superior

9    court of the proper county, to be brought against the tenant in possession; if there is no such

10   tenant, then against the person claiming the title or some interest therein, and may have

11   judgment in such action quieting or removing a cloud from plaintiff's title”. Quiet title is an

12   action developed in equity, and can be used to quiet title not only on specific legal theories, but

13   also on equitable theories. Finch v. Matthews, 74 Wn.2d 161, 443 P.2d 833 (1968).

14         Laches is an equitable defense based on estoppel. A debtor asserting the doctrine of

15   laches must affirmatively establish: (1) knowledge by the creditor of facts constituting a cause

16   of action or a reasonable opportunity to discover such facts, (2) unreasonable delay by the

17   creditor in commencing the action; and (3) damage to the debtor resulting from the delay in

18   bringing the action. Hayden v. Port Townsend, 93 Wn.2d 870, 874-75 (1980). Laches is

19   equitable in nature, it is an “extraordinary” defense, and the party asserting laches must prove the

20   defense by clear and convincing evidence. Ward v. Richards & Rossano, P.S., 51 Wn. App. 423,

21   435 (1988); Brost v. L.A.N.D., Inc., 37 Wn. App. 372, 375-76 (1984); Arnold v. Melani, 75

22   Wn.2d 143, 148 (1968).

23         Defendant cites no authority supporting its theory that Plaintiff must wait for Defendant to

24   actually threaten foreclosure, before asserting laches. Such proposition is absurd – if the facts

25   exist now, a property owner should be able to assert them now, rather than wait for years or

26   perhaps for(n)ever for a mortgage holder to foreclose. To have to wait makes claims get stale

27   before being adjudicated, and prevents property titles from being timely resolved judicially.

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 11 of 80



1          In any event, on November 12, 2020, Defendant engaged a law firm (Wright Finlay &

2    Zak) to send a letter to Plaintiff declaring him in default on the loan, specifically demanding

3    Plaintiff send $39,096.01 in payment of the alleged arrearages, claiming that the total payoff of

4    the loan was nearly $40,000 more than the principal balance, stating that legal action or

5    foreclosure may be commenced against Plaintiff, and stating that Plaintiff had the right to sue

6    Defendant to assert any defense against the loan or deed of trust. (Exhibit 2)

7          While these above facts are not currently in the complaint, Plaintiff will be seeking to file

8    an amended complaint asserted these facts – which will clearly make a laches defense ripe even

9    under Defendant’s theories. And if laches is somehow premature at this point, any dismissal

10   would have to be without prejudice to Plaintiff being able to assert laches when it becomes ripe.

11         The remainder of Defendant’s argument is an attempt to win a summary judgment type

12   standard, without having the Court evaluate any facts – just Defendant’s limited presentation of a

13   few alleged facts that Defendant believes to be relevant. That is not the Rule 12(c) standard.

14         Plaintiff’s laches argument is not based solely on Defendant’s (and its predecessors in

15   interest) failure to foreclose on the property, but on Defendant’s (and predecessors) complete

16   silence about the second mortgage for over 12 years. From Plaintiff’s Complaint:

17                  100. Defendant and its predecessors in interest have been aware since
           July 2006 (typo of 2016 in Complaint) of their rights under the second position
18         deed of trust, aware of Plaintiff’s non-payment of the same starting in about
           August or September of 2006, have delayed unreasonably in bringing any action to
19         enforce the second position deed of trust and associated promissory note
           (including failure to take any foreclosure action and/or litigation, failure to file a
20         proof of claim in the 2008 Chapter 13 bankruptcy, failure to notify Plaintiff of
           change of ownership and change of servicing in connection with the August 2016
21         ownership and servicing transfer and any prior transfers of ownership and
           servicing, and failure to provide Plaintiff with any periodic billing statements since
22         at least 2008 to the present time, and Plaintiff would be damaged if Defendant is
           allowed to assert a valid security interest and/or personal obligation. Enforcement
23         should therefore be barred under the doctrine of laches.
24         Plaintiff believes all these delays, taken together, are objectively unreasonable – even

25   more so given requirements under federal law to send periodic billing statements, and to notify

26   about changes in servicing and ownership. Even if 14 years of nonenforcement by itself was not

27   unreasonable delay, over 12 years of complete silence – contrary to law – was not reasonable.

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              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 12 of 80



1            Plaintiff has also alleged specific damages as a result of this delay. Complaint, ⁋⁋ 12-16.

2    Plaintiff filed his 2017 Chapter 13 to avoid foreclosure on the first mortgage. At the time,

3    Plaintiff’s home was “underwater” on the first mortgage, and the second mortgage could have

4    been avoided in a Chapter 13 plan. Plaintiff did not think about or list the second mortgage,

5    since he had heard nothing at all from anyone since 2008, and had been lulled into not even

6    thinking about it anymore. Plaintiff spent over $56,000 in Chapter 13 and other payments in the

7    bankruptcy, the vast majority of which went to the first mortgage, or trustee and related fees.

8    Had Defendant actively asserted its interests by even sending Plaintiff periodic statements, then

9    Plaintiff would have known to avoid the fully underwater second mortgage, been motivated to do

10   so2, and wiped out the second mortgage on successful Plan completion. In the alternative,

11   Plaintiff would not have paid over $56,000 in the Chapter 13, just to improve the position of the

12   second mortgage holder from being fully unsecured to perhaps attaching to some small equity.

13                                         Plaintiff’s Waiver Claim is Valid

14            Waiver is “the intentional and voluntary relinquishment of a known right”. Jones v.

15   Best, 134 Wn.2d 232, 241-42, 950 P.2d 1 (1998). Defendant and its predecessors in interest

16   have known about the rights created by the second position deed of trust and associated

17   promissory note since their creation in July 2006. Defendant and its predecessors in interest

18   have intentionally relinquished these known rights by failure to take any foreclosure action

19   and/or litigation, failure to file a proof of claim in the 2008 Chapter 13 bankruptcy, failure to

20   notify Plaintiff of change of ownership and change of servicing in connection with the August

21   2016 ownership and servicing transfer and any prior transfers of ownership and servicing, and

22   failure to provide Plaintiff with any periodic billing statements since at least 2008 to the present

23   time. Enforcement should therefore be barred under the doctrine of waiver.

24           Defendant’s waiver arguments fail to address the vast majority of the above assertions.

25
              2
                 There may be other reasons for the 2017 bankruptcy being dismissed, which was done for lack of making
26   payments. Plaintiff would assert in an amended complaint that arrangements were made with the first mortgage
     holder to stave off foreclosure, at least for a while. A different scenario would have presented itself, if there were a
27   confirmed Chapter 13 Plan that would have wiped out the fully underwater second mortgage on plan completion.

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 13 of 80



1           It is especially notable that Defendant (and its predecessors) have intentionally waived

2    their right to nearly half of the periodic payments on the second mortgage: (1) All payments due

3    from September 1, 2006 to March 1, 2015 are now barred by the statute of limitations, and (2) at

4    the minimum, all payments through March 1, 2021 are barred by failure to file a compulsory

5    counterclaim under Rule 13(a)(a) F.R.Civ.P. for at least the matured past due installment

6    payments on the loan. Plaintiff would argue that Defendant’s waiver extends to the entire loan.

7           There was total silence from Defendant (and its predecessors) for at least 12 years, with

8    no communications or even requests to pay anything on the loan, despite federal and state laws

9    clearly requiring monthly servicing statements. In addition to absolutely barring collection of a

10   major portion of loan installments by the statute of limitations, Plaintiff would argue that a trier

11   of fact could conclude under appropriate facts a waiver of ALL rights to collect under the loan.

12          Just as argued under laches, RCW 7.28.010 generally covers all quiet title actions,

13   Defendant is currently asking to collect and threatening to foreclose, there is no requirement of

14   “ripeness”, this matter is “ripe” if that is required, and any prematurity does not bar future claim.

15                          Fair Debt Collection Practices Act Claim is Valid

16          As a preliminary matter, Plaintiff’s state court complaint does not go into many factual

17   and legal detail about why Defendant is a “debt collector” under the Fair Debt Collection

18   Practices Act. Any deficiencies in this arena will be addressed through an amended complaint.

19          In general, Plaintiff believes that a principal purpose of Defendant’s business is the

20   collection of debts. Plaintiff also believes that Defendant is collecting for the benefit of persons

21   other than itself. While the August 2015 letter in dkt. 24-2 was never sent to Plaintiff, it shows

22   the true owner of the mortgage loan to be Dreambuilder Investments LLC. Dreambuilder never

23   acquired a Washington collection agency license required to purchase delinquent debt, and

24   therefore transferred nominal ownership to Defendant, who does have a Washington license.

25   Plaintiff believes beneficial interest belongs to Dreambuilder or another “investor”. Moreover,

26   Defendant has admitted to being a “debt collector” under the FDCPA in its correspondence to

27   Plaintiff. (Exhibit 1, October 26, 2020 letter; Exhibit 3, August 8, 2020 letter)

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1           Defendant misquotes 15 USC 1692a(6), the statutory definition of “debt collector” on

2    Page 12, Lines 2-3 of its Motion to Dismiss. The actual “debt collector” definition in 15 USC

3    1692a(6) is: The term “debt collector” means any person who uses any instrumentality of

4    interstate commerce or the mails [A] in any business the principal purpose of which is the

5    collection of any debts, or [B] who regularly collects or attempts to collect, directly or

6    indirectly, debts owed or due or asserted to be owed or due another. (brackets added)

7           Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718, 1724 (2017) addressed a very

8    limited application of the FDCPA – whether an entity that ONLY tried to collect delinquent debt

9    it had purchased for its own account – and nothing more – could qualify as a “debt collector”

10   under the second alternative part of the 15 USC 1692a(6) definition, i.e. “who regularly collects

11   or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due

12   another”. And Henson held that an entity who only tried to collect debt that it had purchased for

13   itself, and did nothing else whatsoever, did not qualify as a FDCPA “debt collector”. Id.

14          By contrast, Henson held that someone collecting debt, even nominally under their own

15   name, whose true beneficial interest belonged to another creditor, was a “debt collector”. 136

16   S.Ct. at 1723. And Henson did not address the first alternative test of 15 USC 1692a(6), i.e. an

17   entity “in any business the principal purpose of which is the collection of any debts”, or

18   whether an entity regularly collecting debt owed to others is covered as a “debt collector” when

19   they are attempting to collect debt that they have truly purchased for their own account:

20          Before attending to that job, though, we pause to note two related questions we do
            not attempt to answer today. First, petitioners suggest that Santander can qualify as
21          a debt collector not only because it regularly seeks to collect for its own account
            debts that it has purchased, but also because it regularly acts as a third party
22          collection agent for debts owed to others. Petitioners did not, however, raise the
            latter theory in their petition for certiorari and neither did we agree to review it.
23          Second, the parties briefly allude to another statutory definition of the term " debt
            collector" --one that encompasses those engaged " in any business the principal
24          purpose of which is the collection of any debts." § 1692a(6). But the parties
            haven't much litigated that alternative definition and in granting certiorari we
25          didn't agree to address it either.
26   Henson, 136 S.Ct. at 1721. Not surprisingly, Defendant’s briefing is totally devoid of any

27   analysis of these other alternatives – all of which are (or will be) expressly pleaded by Plaintiff.

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 15 of 80



1           What other legal analysis Defendant offers is completely irrelevant to the FDCPA issues

2    presented in this lawsuit. Niborg v. CitiMortgage, Inc., No. C17-5155 BHS, 2017 U.S. Dist.

3    LEXIS 110657, at *6 (W.D. Wash. July 17, 2017) Kislyanka v. Clear Recon Corp., No.

4    C19-0673RSL, 2019 U.S. Dist. LEXIS 171238, at *9 (W.D. Wash. Oct. 1, 2019) are both

5    mortgage foreclosure cases – Niborg doesn’t appear to involve the FDCPA at all and Kislyanka

6    holds that mortgage foreclosure by a trustee does not generally implicate the FDCPA.

7           In the present case, Plaintiff contends that Defendant is covered as a “debt collector”

8    under 15 USC 1692a(6) by several alternative bases, each of which is independently valid under

9    Henson: (1) the true beneficial owner of the mortgage loan is Dreambuilder or another investor

10   client of Defendant, (2) even if Defendant is now the true owner, Defendant only bought the debt

11   after it started collecting it, (3) even if Defendant is the true owner, Defendant regularly collects

12   debts for others, (4) the principal purpose of Defendant’s business is the collection of debts,

13   and/or (5) Defendant has expressly admitted that it is a “debt collector”.

14          Notably, the Ninth Circuit has joined other circuits in expressly limiting Henson to the

15   very narrow set of facts considered on the certiorari petition. In McAdory v. M.N.S. & Assocs.,

16   LLC, 952 F.3d 1089, 1095 (9th Cir. 2020), the Ninth Circuit held an entity whose principal

17   business is collecting debts is covered as a “debt collector” under the first prong of 15 USC

18   1692a(6), even if it is only collecting debts it purchased for itself. See also Barbato v. Greystone

19   All., LLC, 916 F.3d 260, 261 (3d Cir.2019), cert. denied 140 S.Ct. 245, 205 L.Ed.2d 129 (2019).

20          Incredibly, Defendant argues that it wasn’t really trying to collect the debt from Plaintiff!

21   Such an absurd defense, at best, is a matter to raise at trial or perhaps a Rule 56 motion, but not

22   on a Rule 12(c) motion. Certainly, actual facts COULD support the proposition that Defendant

23   would really like Plaintiff to pay the debt. The actual letters sent by Defendant certainly appear

24   to ask Plaintiff to pay, and expressly state “THIS IS AN ATTEMPT TO COLLECT A DEBT”.

25   (Exhibits 1, 2, 3) Plaintiff has allegedly that Defendant was trying to collect the debt, which is

26   more than sufficient to withstand Rule 12(c). How could Defendant even stay in business, if it

27   didn’t try to get its alleged debtors to pay up? It would be NICE if Defendant wanted nothing!

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 16 of 80



1           Defendant’s citation of supposed supporting case law on Page 16, Lines 16-24 is not even

2    comprehensible. All four alleged authorities – Lucero v. Cenlar FSB; Gilchrist v. Bayview Loan

3    Servicing, LLC; Vien-Phuong Thi Ho v. Recontrust Co.,; Barnes v. Routh Crabtree Olsen PC –

4    either do not address the FDCPA at all, or only deal with actions of a foreclosure trustee.

5           Defendant does not further ch the legal sufficiency of Plaintiff’s FDCPA claim.

6     Collection Agency Act Claims Valid Under Law Effective 2013 (before 2020 amendments)

7           Defendant attempts to mislead the Court by incorrectly citing to 2020 amendments to the

8    Collection Agency Act, Chapter 19.16 RCW, which do not apply at all to this proceeding. RCW

9    19.16.100 was last amended by Laws 2020, c 30 § 1, SHB 2476 (Exhibit 4), effective June 11,

10   2020. The 2020 amendments only apply to junk debt purchased after June 11, 2020, Laws 2020,

11   c 30 § 5, and offer additional protections to alleged debtors against actions of junk debt buyers.

12          Plaintiff’s lawsuit, of course, is based on Washington law which protects alleged debtor

13   against the actions of junk debt buyers (and other “collection agencies”) who purchased such

14   debts prior to June 11, 2020. Those debtors are protected just the same as persons pursued by

15   other “collection agencies” and have been so protected since October 1, 2013. Exhibit 5 is a

16   copy of RCW 19.16.100 (2019), showing the law before the 2020 amendments.

17           These protectors against delinquent debt buyers were added Laws 2013, Chapter 148,

18   Section 1, SHB 1822 (Exhibit 6), which became effective on October 1, 2013 and are found at

19   RCW 19.16.100 (2019). Under RCW 19.16.110(4)(d) (2019), “any person or entity that is

20   engaged in the business of purchasing delinquent or charged off claims for collection purposes,

21   whether it collects the claims itself or hires a third party for collection or an attorney for

22   litigation in order to collect such claims” must have a collection agency license.

23          If there are any doubts about the Washington Legislature’s intentions in adopting Laws

24   2020, c 30 § 1, Final Bill Report for SHB 2476 (2020) (Exhibit 7) states under pre-existing law

25          The term collection agency is defined to encompass several categories of persons
            and entities, including any person or entity that is engaged in the business of
26          purchasing delinquent or charged off claims for collection purposes, whether it
            collects the claims itself or hires a third party for collection or an attorney for
27          litigation in order to collect such claims.
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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 17 of 80



1           Defendant’s attempt to attack the legal sufficiency of Plaintiff’s Collection Agency Act

2    claims utterly fails, since it is based solely on interpreting 2020 amendments which do not apply.

3    Very clearly, Defendant is covered as a “collection agency” under RCW 19.16.110(4)(d) (2019).

4           Defendant makes a disingenuous argument that it is somehow exempted from coverage of

5    the Collection Agency Act by RCW 19.16.100(5)(c). However, this exemption only applies to a

6    “business other than that of a collection agency”. And as we have seen, Defendant was a

7    “collection agency” under the express provisions of RCW 19.16.110(4)(d) (2019), even if the

8    mortgage debt at issue was purchased solely for Defendant’s own benefit, instead of collecting

9    for others. Moreover, Defendant has the temerity to offer a reference to its own self-serving

10   website – which is not proper evidence on a Rule 12(c) or even a Rule 56 motion. Notably,

11   Defendant expressly admits its business is buying non-performing (i.e. delinquent) loans!

12          Defendant further misrepresents that Plaintiff pleaded “there is no record of Trinity

13   collecting debts against debtors in this state”. This is FALSE! Plaintiff only alleges that

14   Defendant has never foreclosed on a mortgage in Washington, but clearly states Defendant is

15   trying to collect payments. If only Defendant conceded that it wanted no money from Plaintiff!

16          Defendant does not further challenge the legal sufficiency of Plaintiff’s Collection Agency

17   Act claims. Plaintiff has alleged numerous actions in violation of RCW 19.16.110 and/or RCW

18   19.16.250 in Paragraphs 23-32, 45-52 and elsewhere. Under RCW 19.16.440, any violation of

19   RCW 19.16.110 or RCW 19.16.250 is automatically a violation of the Consumer Protection Act,

20   Chapter 19.86 RCW. Under RCW 19.16.450, any violation of RCW 19.16.250 forever forfeits

21   all right to recover interest, late fees, attorney fees, court costs, or any other amount other than

22   actual principal. Plaintiff has also alleged that Defendant obtaining an out-of-state collection

23   agency license under RCW 19.16.100(12) prohibits in-state collection activities, such as filing

24   lawsuits or having foreclosure sales, and thereby merits quieting title. All these must survive.

25               Real Estate Settlement Procedures (“RESPA”) -- 12 U.S.C. § 2605(b)

26          Defendant’s sole legal challenge to Plaintiff’s RESPA claim under 12 U.S.C. § 2605(b) is

27   asserting that it sent Plaintiff the purported August 13, 2015 letter proffered at dkt. 24-2.

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 18 of 80



1           Plaintiff has expressly objected to consideration of this letter, disputing its veracity and

2    believing it to be a recent fabrication. Plaintiff has also logically argued that neither Defendant

3    nor Dreambuilder Investments LLC had the Consumer Loan License required by RCW

4    31.04.035(1) to service residential mortgage loans at the time, which would make it illogical for

5    them to send a letter admitting to doing such a criminal act, especially when they had totally kept

6    silent about the loan since at least 2008. This material is not proper under Rule 12(c) F.R.Civ.P.

7           Since Plaintiff has validly pleaded that Defendant failed to notify him of the loan

8    servicing transfer (whenever it might have been), this states a valid 12 U.S.C. § 2605(b) claim.

9                         Mortgage Loan Servicing Act – Chapter 19.148 RCW

10          Plaintiff concedes that the mortgage loan at issue was not a purchase money mortgage,

11   and therefore his claim under Chapter 19.148 RCW should be dismissed or withdrawn.

12                           Periodic Billing Statements -- 15 U.S.C. § 1638(f)

13          The Truth In Lending Act one year statute of limitations under 15 U.S.C. § 1640(e)

14   applies only to Plaintiff recovering affirmative monetary damages. Regardless of the passage of

15   time, Plaintiff can use these (more than year old) violations as a set-off against a lawsuit by

16   Defendant on the loan (this compulsory counterclaim under Rule 13(a)(1) has not been brought,

17   and must be to avoid loss of all rights under res judicata) under 15 U.S.C. § 1640(e), or as a set-

18   off against foreclosure under 15 U.S.C. § 1640(k). To the extent that otherwise time-barred

19   violations are not ripe to raise in this lawsuit, they will be in the future if there is enforcement.

20   Plaintiff may recover money damages for all violations after August 2, 2019 initiation date.

21          Under 15 U.S.C. § 1638(f), Defendant was required to send Plaintiff a periodic billing

22   statement each month, setting forth numerous items, including (A) The amount of the principal

23   obligation, (B) The current interest rate in effect, (C) The date on which the interest rate may

24   next reset or adjust, (D) The amount of any prepayment fee to be charged, if any, (E) A

25   description of any late payment fees, (F) A telephone number and electronic mail address to

26   obtain information, (G) Information on counseling agencies or programs reasonably available to

27   the consumer and (H) Such other information as the may be prescribed in regulations.

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1            Defendant misstates the law as to damages available for violation of 15 U.S.C. § 1638(f).

2    Actual damages under 15 U.S.C. § 1640(a)(1) is only one element of available damages. In

3    addition, for EACH violation of 15 U.S.C. § 1638(f), statutory damages “relating to a credit

4    transaction not under an open end credit plan that is secured by real property or a dwelling, not

5    less than $400 or greater than $4,000” must be added under 15 U.S.C. § 1640(a)(2)(a)(iv).

6    Actual damages are an issue for trial, but substantial statutory damages are always mandated.

7            Defendant alleges that 15 U.S.C. § 1638(f) did not apply, because it “was not enforcing

8    payments in the year prior to case filing”. Motion, p. 14:23-24. That is NOT the legal standard.

9            There is a regulatory-made exception for “charged-off” loans created under 12 CFR §

10   1026.41(e)(6). This exception has not been pleaded in Defendant’s Answer, much less briefed in

11   Defendant’s motion to dismiss. This exception has made very specific requirements – such as

12   actually telling the debtor the loan has been charged off and not charging any further interest or

13   fees.3 None of these conditions even appear to be met – and even if Defendant were to belatedly

14   argue that they were met, all these issues are disputed and not available on a Rule 12(c) motion.

15           Defendant’s citation to Adrain v. Wells Fargo Bank, N.A. is ludicrous. Adrain deals with

16   allegations of bad faith foreclosure mediation practices, not with periodic billing statements.

17           Defendant raises no other challenges to legal sufficiency of the 15 U.S.C. § 1638(f) claim.

18                 Failure to Disclose Transfer of Loan Ownership – 15 U.S.C. § 1641(g)

19            Under 15 U.S.C. § 1641(g), Defendant was required to notify Plaintiff of the ownership

20   transfer on the second position deed of trust not later than 30 days after the transfer of

21   ownership. Facial ownership (unclear who has beneficial ownership) of the second position

22   deed of trust was transferred to Defendant on August 1, 2016 and Defendant did not notify

23   Plaintiff of this until April 8, 2020. Defendant does not challenge the legal sufficiency of this

24   claim (no magical “notice” offered up at this time), but alleges the statute of limitations.

25              3
                  Plaintiff has never been told by anyone that the loan was “charged off”. Nor has Defendant ever claimed
     to have done so. None of the correspondence by Defendant (Exhibits 1, 2, 3) claims there was any “charge off”.
26   Instead, the 11/12/2020 letter by Defendant’s counsel (Exhibit 2) indicates that $37,186.48 interest and $1,593.84
     late charges are owed, and that these are increasing on a daily basis – the exact opposite of a “charge off”. Despite
27   all this, Defendant still refuses to provide Plaintiff with the monthly statements required by 15 U.S.C. § 1638(f).

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 20 of 80



1           Defendant evidently concedes that a 15 U.S.C. § 1641(g) can be excepted from the

2    statute of limitations by the discovery rule. After all, if ownership of a home mortgage is

3    transferred to another creditor, there would normally be no way that a homeowner would

4    actually find out – unless the servicer told the homeowner. This is the very reason that Congress

5    enacted 15 U.S.C. § 1641(g). To not allow discovery rule exception for this would simply

6    encourage creditors to never inform the homeowner, and hope they don’t find out within a year.

7           Defendant instead believes courts should expect homeowners to constantly log in to the

8    county website (or travel to the county seat, in less computer savvy counties, or those with very

9    restricted website privacy rules like California) to see if their mortgage has been transferred to

10   someone else. Enacting such a “constructive notice” requirement would totally vitiate the

11   purposes of 15 U.S.C. § 1641(g), which affirmatively require lenders to make such disclosures.

12   And of course, Pearse v. First Horizon Home Loan Corp., cited by Defendant, has absolutely

13   nothing to do with 15 U.S.C. § 1641(g), but a novel claim of “securitization” concealment.

14   Perhaps people worried about “securitization” might be well advised to regularly visit the county

15   courthouse, but ordinary folks should rely on lenders to disclose under 15 U.S.C. § 1641(g).

16          In the event the discovery rule did not apply, Plaintiff’s 15 U.S.C. § 1641(g) claim can

17   still be used as a set-off at an appropriate time (perhaps) now, as per previous section argument.

18                       Consumer Protection Act Claim – Chapter 19.86 RCW

19          The purpose of the Washington Consumer Protection Act (CPA), Chapter 19.86 RCW, is

20   "to complement the body of federal law governing restraints of trade, unfair competition and

21   unfair, deceptive and fraudulent acts or practices in order to protect the public and foster fair and

22   honest competition." RCW 19.86.920. Individuals injured in their business or property by

23   C.P.A. violations may bring suit to recover damages from the wrongdoer. RCW 19.86.090. To

24   prevail in a C.P.A. action, a plaintiff must prove (1) unfair or deceptive act or practice (2)

25   occurring in trade or commerce, (3) public interest impact, (4) injury to plaintiff in business or

26   property and (5) causation of the injuries by acts complained of. Hangman Ridge Training v.

27   Safeco Title Ins., 105 Wn.2d 778, 780, 719 P.2d 531, 533 (1986).

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 21 of 80



1           The existence of an unfair or deceptive act or practice occurring in trade or commerce

2    can be established by showing either that: (1) the act or practice violates a statute which has

3    been declared by the legislature to constitute an unfair or deceptive act in trade or commerce (per

4    se unfair trade practice) or (2) the act or practice has the capacity to deceive a substantial portion

5    of the public and occurs in the conduct of any trade or commerce (de facto deceptive trade

6    practice). Hangman Ridge, 719 P.2d at 535.

7           Plaintiff’s First Cause of Action (Complaint, ⁋⁋ 41-65) is for a “per se unfair trade

8    practice” violation related to the Collection Agency Act. While Defendant made an unavailing

9    challenge that it is somehow not a “collection agency”, Defendant has not challenged the legal

10   sufficiency of any of Plaintiff’s claims that RCW 19.86.110 and/or RCW 19.86.250 were

11   violated. (Complaint, ⁋⁋ 45-49) Under 19.16.440, such violations of RCW 19.86.110 and/or

12   RCW 19.86.250 are per se “declared to be unfair acts or practices or unfair methods of

13   competition in the conduct of trade or commerce”. This legal sufficiency is not disputed.

14          Plaintiff’s Second Cause of Action (Complaint, ⁋⁋ 66-85) is for a “de facto deceptive

15   trade practice” violation of the Consumer Protection Act. Plaintiff specifically alleged that:

16                  68.     Defendant’s failure to notify Plaintiff and other homeowners of the
            loan servicing transfer on the second position deed of trust at least 15 days before
17          the transfer of servicing and in no event more than 30 days after transfer of
            servicing, as required by 12 U.S.C. § 2605(b), or at least 30 days prior to the next
18          payment due date as required by RCW 19.148.030(2), and instead making such
            notification on April 8, 2020, over 3-1/2 years after the transfer on August 1, 2016,
19          was deceptive and unfair.
20                  69.     Defendant’s failure to notify Plaintiff and other homeowners of the
            ownership transfer on the second position deed of trust within 30 days of
21          ownership transfer, as required by 15 U.S.C. § 1641(g), and instead making such
            notification on April 8, 2020, over 3-1/2 years after the transfer on August 1, 2016,
22          was deceptive and unfair.
23                 70.     Defendant’s failure to provide Plaintiff with a periodic billing
            statement prior to each monthly payment due date, as required by 15 U.S.C. §
24          1638(f), was deceptive and unfair.
25                  71.     Defendant’s false representation that its second position deed of
            trust constituted a valid security interest against Plaintiff’s residence which could
26          be enforced by foreclosure or by lawsuit including personal liability, when such
            action could not legally be taken due to Defendant only possessing an Out-of-State
27          Collection Agency License which does not allow taking in-state actions such as
28                                                                              Lake Hills Legal Services PC
                                                                                 15600 N.E. 8th St., # B1-358
     PLAINTIFF’S RESPONSE TO                                                    Bellevue, Washington 98008
     DEFENDANT’S MOTION TO DISMISS -- 21                                         Telephone: (425) 829-5305
                                                                                E-mail: rp98007@gmail.com
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 22 of 80


           lawsuits and foreclosure sales, and when enforcement being barred by the statute
1          of limitations, as well as due to laches and waiver, was deceptive and unfair.
2                  72.    Defendant’s attempt to obtain confidential personal and financial
           information for Plaintiff, including social security number, income information,
3          asset information, liability information, and other personal information, as well as
           a general expense to allow all third parties to disclose information about Plaintiff,
4          when such action could not legally be taken due to Defendant only possessing an
           Out-of-State Collection Agency License which does not allow taking in-state
5          actions such as lawsuits and foreclosure sales, and also due to enforcement being
           barred by the statute of limitations, as well as due to laches and waiver, was
6          deceptive and unfair.
7                 73.     Defendant’s other violations of the Collection Agency Act and
           other applicable state and federal laws was deceptive and unfair.
8

9           Plaintiff obviously asserts that each and every one of the sets of allegations are

10   “deceptive and unfair” acts or practice y Defendant, and thereby in violation of RCW 19.86.020.

11   Defendant offers absolutely no argument to the contrary in its Rule 12(c) motion. Not once does

12   Defendant argue that it is factually implausible for Plaintiff to prove any of the six groups of

13   allegations, nor does Defendant argue that any of these six groups of allegations, if proven true,

14   would somehow not constitute an unfair or deceptive act or practice against the Plaintiff.

15          Instead, Defendant merely offers the short conclusory argument that they were merely

16   “stand[ing] by their contracts rights”. Nowhere does Defendant bother to explain how they

17   spmehow have the “contracts rights” to do any of the things Plaintiff alleges in Paragraphs 68-73

18   of his complaint. And quite obviously, Plaintiff isn’t suing Defendant over anything that there is

19   any sort of “contracts rights” to do – but instead over specified “deceptive and unfair acts”.

20          Consistently with most other states, Washington requires a private CPA plaintiff to

21   establish the deceptive act caused injury. Hangman Ridge, 105 Wn.2d at 794, 719 P.2d 531; Bob

22   Cohen, Annotation, Right to Private Action under State Consumer Protection Act-Preconditions

23   to Action, 117 A.L.R.5th 155 (2004) (discussing injury requirement as precondition to private

24   right of action under state consumer protection act; collecting cases). The injury requirement is

25   met upon proof the plaintiff's " property interest or money is diminished because of the unlawful

26   conduct even if the expenses caused by the statutory violation are minimal." Mason v. Mortgage

27   Am., Inc., 114 Wn.2d 842, 854, 792 P.2d 142 (1990) (temporary loss of use of property while

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             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 23 of 80



1    brokerage company improperly withheld title constituted sufficient injury to support attorney fee

2    award under the CPA) (citing Hangman Ridge, 105 Wn.2d at 792, 719 P.2d 531). Pecuniary

3    losses occasioned by inconvenience may be recoverable as actual damages. Keyes, 31 Wn. App.

4    at 296, 640 P.2d 1077; Tallmadge v. Aurora Chrysler Plymouth, Inc., 25 Wn. App. 90, 605 P.2d

5    1275 (1979) (costs associated with traveling to dealership in reliance on false advertisements).

6           "Injury" is distinct from " damages.” Nordstrom, 107 Wn.2d at 740, 733 P.2d 208.

7    Monetary damages need not be proved; unquantifiable damages may suffice. Id. (loss of

8    goodwill); Nw. Airlines, Inc. v. Ticket Exch., Inc., 793 F.Supp. 976 (W.D.Wash., 1992) (proof

9    of injury satisfied by " stowaway theory" where damages are otherwise unquantifiable in case

10   involving deceptive brokerage of frequent flier miles); Fisons, 122 Wn.2d 299, 858 P.2d 1054

11   (damage to professional reputation); Sorrel v. Eagle Healthcare, Inc., 110 Wn. App. 290, 298, 38

12   P.3d 1024 (2002) (injury by delay in refund of money); Webb v. Ray, 38 Wn. App. 675, 688

13   P.2d 534 (1984) (loss of use of property).

14          In the present case, Plaintiff had to consult “with an attorney to dispel uncertainty

15   regarding the nature of [the] alleged debt” claimed by Defendant, and such pre-litigation attorney

16   fees to determine the consequences of unfair and deceptive practices are specifically allowed

17   under Panag v. Farmers Ins. Co. of Washington, 166 Wn.2d 27, 63, 204 P.3d 885 (2009) as the

18   type of injury to “business or property” that will support a CPA claim under RCW 19.86.090.

19          In addition, Defendant’s violations of RCW 19.16.250 (Collection Agency Act) require

20   Defendant to forfeit “interest, service charge, attorneys' fees, collection costs, delinquency

21   charge, or any other fees or charges” under RCW 19.16.450 and collect only unpaid principal.

22   These amounts are substantial and certainly constitute a sufficient “injury to property”.

23          Plaintiff has also alleged that he paid out nearly $56,000.00 in conjunction with his 2017

24   Chapter 13 bankruptcy case (Complaint, ⁋16) that he would not have paid out had Defendant not

25   unfairly and deceptively concealed the existence of its loan by illegally failing to communicate at

26   all with Plaintiff (as it and its predecessors in interest had failed to do since 2008). This is a very

27   substantial loss of “property” alleged by Plaintiff as the result of this unfairness and deception.

28                                                                              Lake Hills Legal Services PC
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     PLAINTIFF’S RESPONSE TO                                                    Bellevue, Washington 98008
     DEFENDANT’S MOTION TO DISMISS -- 23                                         Telephone: (425) 829-5305
                                                                                E-mail: rp98007@gmail.com
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 24 of 80



1           Last but not least, Plaintiff has alleged a pecuniary loss of $25,000.00 due to “loss of

2    current opportunities to sell property”. (dkt. 1-2 at p. 2) This is also an injury to “property”.

3           Defendant does not otherwise challenge the legal sufficiency of Plaintiff’s CPA claim.

4                               Defendant is Not Entitled to Attorney Fees

5           Defendant’s motion to dismiss should be denied. This makes any attorney fees premature.

6           Plaintiff’s FDCPA claim should not be dismissed, and in any event is not in bad faith.

7    Defendant even admits in its letters to being a “debt collector”. (Exhibits 1, 3) Plaintiff argues

8    the “debt collector” issue in good faith, and Defendant does not otherwise dispute FDCPA claim.

9    Plaintiff’s August 5, 2020 attempt to settle before filing (dkt. 1-2) was certainly not in bad faith –

10   nor did Defendant challenge any of Plaintiff’s claims before Defendant decided to file this suit.

11   Notably, Plaintiff is seeking only $1,000.00 statutory damages on the FDCPA claim (dkt. 1-2 at

12   p. 2), with all other damages in common with other causes of action. FDCPA is not “bad faith”.

13          There are many reasons why Defendant would not be contractually entitled to attorney

14   fees, even if Plaintiff’s claims were dismissed. First, RCW 19.16.450 would specifically bar

15   attorney fees if Defendant is a “collection agency” under RCW 19.16.100(4)(d) (2019), given the

16   Defendant does not deny the RCW 19.16.250 violations set forth at Complaint, ⁋⁋ 46-49.

17          Second, the Deed of Trust (dkt. 24-1) attorney fee rights of Plaintiff are very limited.

18   Paragraph 17 only deals with attorney fees if Defendant starts a foreclosure – and this lawsuit is

19   not a foreclosure action (or counterclaim). Paragraph 7 only deals with a lawsuit claim which

20   “materially affects Lender's interest in the Property”. This, at best, would cover only the quiet

21   title aspects, and not Plaintiff’s claims for damages for other bases. Paragraph 7 also provides

22   any such attorney fees “shall become additional indebtedness of Borrower secured by this Deed

23   of Trust”. This provision, if Plaintiff loses, would simply increase the debt owed under the Deed

24   of Trust (if not otherwise barred by res judicata due to lack of compulsory counterclaim), unless

25   Defendant were to amend its lawsuit to add a counterclaim for payment of the promissory note.

26                                                Conclusion

27          For all the reasons stated above, Defendant’s motion to dismiss should be denied.

28                                                                              Lake Hills Legal Services PC
                                                                                 15600 N.E. 8th St., # B1-358
     PLAINTIFF’S RESPONSE TO                                                    Bellevue, Washington 98008
     DEFENDANT’S MOTION TO DISMISS -- 24                                         Telephone: (425) 829-5305
                                                                                E-mail: rp98007@gmail.com
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 25 of 80



1           Respectfully submitted this 8th day of March 2021.

2

3
                                                          /s/ Richard L. Pope, Jr.
4                                                         RICHARD L. POPE, JR.
                                                          WSBA # 21118
5                                                         Attorney for Plaintiff
6                                                         Lake Hills Legal Services, P.C.
                                                          15600 N.E. 8th Street, Suite B-358
7                                                         Bellevue, Washington 98008
                                                          Tel: (425) 829-5305
8                                                         Fax: (425) 526-5714
                                                          E-Mail: rp98007@gmail.com
9

10
                                              Proof of Service
11
           I certify that, on March 8, 2021, I electronically filed the foregoing with the Clerk of the
12
     Court using the CM/ECF system which will send notification of such filing to the following
13
     registered with CM/ECF, including the Honorable James L. Robart, and all counsel of record for
14
     the other parties to this case, including the following people listed on the system:
15
     Joseph W. McIntosh jmcintosh@mccarthyholthus.com
16
     Richard Lamar Pope , Jr rp98007@gmail.com
17
            Signed at Bellevue, Washington this 8th day of March 2021.
18

19

20                                                        /s/ Richard L. Pope, Jr.
                                                          RICHARD L. POPE, JR.
21

22

23

24

25

26

27

28                                                                            Lake Hills Legal Services PC
                                                                               15600 N.E. 8th St., # B1-358
     PLAINTIFF’S RESPONSE TO                                                  Bellevue, Washington 98008
     DEFENDANT’S MOTION TO DISMISS -- 25                                       Telephone: (425) 829-5305
                                                                              E-mail: rp98007@gmail.com
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 26 of 80




   EXHIBIT 1
               Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 27 of 80




October 26, 2020


via Certitled Mail

RICHARD DWYER
25322 11 3TH AVE SE
KENT, WA 98030


                                      MORTGAGE ASSISTANCE API>LICATION

Dear RICHARD DWYER



            This letter is in response to your recent inquiry regarding a temporalY payment plan, short sale, or
 settlement agreement regarding the above referenced loan. Please complete this entire package with supporting
 documentation and forward it to Trinity Financial Services, LLC.

             DO NOT send an incomplete package, or your request will not be considered.
             No package will be processed until ALL items requested herein are received.

            The documentation you provide will be reviewed and verified. The information obtained will help in
 assessing your financial situation. Please be advised that submission of this information is not a guarantee that a
 payment plan or short sale of any kind will be approved.

                                             Please send this completed package via:

                                                                    Email:

                                                            LNP@trinityfs.com

                                                                     OR

                                                          Overnight address:
                                                    Trinity Financial Services, LLC
                                                    2618 San Miguel Drive, Ste 303
                                                    NewpOlt Beach, CA 92660
                                                                      OR
                                                                     Fax:
                                                               (805) 516-2608

           7HlS]S AN A rrEMPT TO COJIFCTA DEBT THIS ('OMMUNfCA170N IS FROM A DFBT (,OUHTO!? ANY
    INFORMA770N OBTAINED WllL BF USFD FOR THATPURPOS'E. YOli have a righl 10 di.l'pule this dehl, in par! or in/it/I,
    vl'ith Trinity Financial Services, LU' wi/hill 30 days. Ij'Trinil), Financial ."'ervices, lIe does not receive a re,l'jJol1sc/i'o!l1 YOll
                                           within 30 days, the deht will he assumed VAUD.



  Toll Free: 855.818.6806 1 Fax: 805.516.2608 1 2618 San Miguel Dr., Suite 303 Newport Beach, CA. 92660




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                   Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 28 of 80



            TRINIT
         THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED
               FOR THAT PURPOSE. THIS IS A COMMUNICATION FROM A DEBT COLLECTOR.



         NOTICE TO DEBTOR(S) IN BANKRUPTCY: This paragraph is a special notice to our customers who have
         filed a petition for protection under the United States Bankruptcy Code. Unless you have signed a reaffirmation
         agreement with the lender, and that agreement has been tiled with the bankruptcy court (and not subsequently
         rescinded or disallowed in accordance with the Bankruptcy Code), you should disregard all pOitions of this letter
         which state or suggest that you still have a personal liability to pay the lender. You may wish to consult with an
         attorney regarding this letter, your bankruptcy and the ability of the lender to enforce its lien on collateral, if any.
         If you have obtained a discharge under the Bankruptcy Code this letter is for informational purposes or to protect
         our interests in any collateral.




    Toll Free: 855.818.6806    I Fax: 805.516.2608 I 2618 San Miguel Dr., Suite 303 Newport Beach, CA. 92660
                                             www.TrinityFS.com

.                                                                                         009103·00015286-0 {PAG.150] [DOC 23 24/28 ld.8130G.5S]
              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 29 of 80



                           ITY
                                               EXHIBIT B
                              Borrower's Statement of Attorney Representation

              Currently, a lawsuit has not been filed in your state regarding this issue. Please contact your attorney
  immediately. If this matter is not resolved, Trinity Financial Services, LLC will pursue this matter by any legal
  means necessary, including but not limited to, possible foreclosure of the property specified in the mOligage/deed of
  trust or possible initiation of a lawsuit for personal liability of your debt to Trinity Financial Services, LLC.

              You are not required to be represented by an attorney but it is HIGHLY recommended. If you are not
  represented by an attorney but wish to be, you may contact the American Bar Association for a referral to an attorney
  in your state. The link to the American Bar Association's referral website is www.FindLegaIHelp.org.

        o J am currently not represented by an attorney.      I have been advised that legal representation is
            recommended but not required. Please contact me directly regarding the negotiation of this loan.
            reserve the right to retain an attorney at a future date.

        o   I am currently not represented by an attorney, but I am in the process of obtaining an attorney. I have
            contacted the American Bar Association and/or have used an attorney refelTaI service. Until an attorney
            has contacted Trinity Financial Services, LLC please contact me directly.

        Dram currently represented by an attorney. Their contact information is as follows:


            Fiml Name:

             Attorney Name:
             Address:




             Phone Number:

             Fax Number:


             Email




    BOlTower Signature



    Printed Name                                            Date




Toll Free: 855.818.6806    I Fax:   805.516.2608   I   2618 San Miguel Dr., Suite 303 Newport Beach, CA. 92660



                                                                                  009103-00015286-0 [PAG.15BJ [DOC 231&28Id.8130658J
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 30 of 80




   EXHIBIT 2
                              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 31 of 80




                                                                                      II
                                                                     WRlGHTFINLAY&ZAKll~
                                                                            ATIORNEYS AT LAW
                                                                                  Main Office
                                                                         466S MacArthur Court. Suite 200
                                                                            Ne"l'ort Beach. CA 92660
                                                                           Main Phone: (949) 47i-SOSO
                                                                            Email Fax: (949)608-9142

                                                                                ffijTIwrightlegal net


Sent Via First Class and Certified Mail

Direct Dial: 949-610-7017


November 12,2020

Richard T. Dwyer
25322 113th Ave SE
Kent, WA 98030

Re:             Case Name                                            Dwyer, Richard T.
                Property Address                                     25322 113th Ave SE, Kent, Washington, 98030
                Client Reference No.                                 1500022022
                WFZ Case No.                                         315-2020179

                RE: NOTICE OF DEFAULT

PURSUANT TO THE FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. § 1692e(lI),
PLEASE BE ADVISED THAT THE UNDERSIGNED FIRM IS ATTEMPTING TO COLLECT A
DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

Dear Mr. Dwyer:

This law firm represents Trinity Financial Services, LLC (hereinafter the "Beneficiary"), the current
beneficiary of a promissory note secured by a deed of trust (collectively referred to as the "Loan"), which
encumbers real property located at 25322 113th Ave SE, Kent, Washington, 98030 (the "Property").

        The nonpayment of principal and interest on the Loan, including your failure to pay the May 2015
installment and sums due and owing thereafter, is a breach of the Loan terms. Please be advised that as of
12/12/2020, the reinstatement amount required to cure the breach is $39,096.01.

        Because interest and other charges may vary from day to day, the amount due on the day paid may
be different. Hence, if payment in the reinstatement amount shown above is submitted, an adjustment
may be necessary after the receipt of the payment. If this sum is submitted, please also immediately
contact the beneficiary at (855) 818-6806 so they can promptly discuss other amounts remaining due, if
applicable.


Nevada OffICe                     Ari1.onaOfficc                        Washington Officc                  UtahOfficc                          Oregon OffICe
7785 \V. Sahara Ave., Suite 200   2800 N. Central Ave., Suite 1217      612 South Ludle.• Suite 300        2975 W. Executive Pkwy. Suite 233   121 S\V Morrison, Suite 1100
LasVcgas.NV 89117                 Phoenix. AZ 85004                     Seattle. WI, 98108                 Mailbox 155                         Portland. OR 97204
Main Phone: (702) 475-7964        Main Phone: (949) 477-5050            Main I'hoo.:-(425) 2%-3116         lohi. tIT 84043                     Main Phone: (503) 479-8871
Main Fax: (702) 946-1345                                                                                   Main Phone: (B01) 893-4901          Main Fax (949) 608-9142
                                                                                                           Main Fax (702) 946-1345
                             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 32 of 80
Page 2



       Alternatively, to pay the entire sum secured by the Deed of Trust, the total loan payoff amount as
of 12112/2020 is $91,303.85. This payoff amount includes:

              Unpaid Principal Balance                                                                                    $52,396.20
              Accrued Interest                                                                                            $37,186.48
              Late Charges                                                                                                $1,593.84
              TOTAL                                                                                                       $91,303.85

Again, because interest and other charges may vary from day to day, the amount due after the date of this
letter may be different.

              To cure the breach, the following must occur:
              1. Funds for the full reinstatement or payoff amount must be received at the address stated in the
                 paragraph below no later than 5:00 p.m. PT on December 12,2020.
              2. Funds must be in the form of ONE cashier's check or money order (certified funds only) made
                 payable to Trinity Financial Services, LLC for either: $39,096.01 if reinstating the loan and
                 curing the breach, OR $91,303.85 ifpaying off the loan, and mailed to:
                             Trinity Financial Services, LLC
                             2618 San Miguel Drive, Suite 303
                             Newport Beach, CA 92660
              3.     No partial payments will be accepted.
              4.     Only cashier's checks or money orders will be accepted. No trust account, escrow, or
                     personal checks will be accepted.

        If funds are not submitted by the date listed above, the beneficiary can provide updated
reinstatement and/or payoff quote accurate through a specific future date. Such request, however, does
not affect the Beneficiary's rights as stated herein.

        Should you tender either reinstatement or payoff funds after the date when your next monthly
installment on the loan becomes due subsequent to this letter, please note such funds would not cover that
monthly installment. Further payments in this circumstance must be made directly to the Beneficiary.

       If the breach stated herein is not cured by December 12, 2020, the Beneficiary retains the right to
pursue any remedies permitted by applicable law and/or the Deed of Trust, such as accelerating the loan
and/or conducting a foreclosure of the Property at public auction.

       For potential assistance to remedy your default on the loan, you can contact the beneficiary
at (855) 818-6806 to engage in a discussion concerning available options such as requesting a loan
modification application.

        If you have filed bankruptcy, enforcement of the debt would not occur during pendency of the
case or until relief from stay is granted. If you have received a discharge of the debt referenced herein in
a bankruptcy proceeding, this letter is not an attempt to impose personal liability upon you for payment of

Nevada Office                    Arizona OffICe                       Washington OfflCC              Utah OfflCC                         Oregon Off""
7785 W. Sahara Ave., Suite 200   16427 N. $rousdale Road. Suite 300   3600 15th Ave W .• Suite 202   2975 W. Executive Pkwy. Suite 233   121 SW Morrison, Suite 1100
L.'lS Vegas. NY 89117            $cousdale.!\Z 85254                  Seaule. \VA 98119              Mailbox 155                         Portland. OR 97204
Main Phone: (702) 475·7964       Main Phone: (949) 477·5050           Main Phone: (425) 296·3116     Lehi. UT 84043                      Main Phone: (503) 479·8871
Main Fax: (702) 946·1345                                                                             Main Phone: (BOI) 893·4901          Main Fax (949) 608·9142
                                                                                                     Main Fax (702) 946·1345
                             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 33 of 80
Page 3


that debt. In the event you have received a bankruptcy discharge, any action to enforce the debt will be
taken against the Property only.

        If, and to the extent that, the Beneficiary may in any way be deemed to have waived any of the
time-essence provisions in documents evidencing and/or securing the loan, the Beneficiary hereby
reinstates those provisions. By delivering the above quote(s), the Beneficiary does not waive its right to
enforce any and all remedies afforded by law or the loan documents including, without limitation, its right
to enforce due on sale provisions.

        Please note that you have the right to bring a cOUli action to assert the nonexistence of a breach or
any other defense permitted by applicable law and/or the Deed of Trust. If you believe that any portion of
this notice is in error, please notify our office as follows.

THE FOLLOWING IS A NOTICE TO YOU AS A CONSUMER DEBTOR:

As of the date of this notice, you owe the total amount stated on the first page herein to the creditor also
named as the Beneficiary on the first page. Because of interest, late charges, and other charges that may
vary from day to day, the amount due on the day you pay may be greater. Please be advised that, because
this letter is being sent to you in connection with a consumer debt, you may have certain rights under
federal law. First, unless within thirty (30) days after receipt of this notice, you dispute the debt or any
portion of it, we will assume the debt to be valid. Second, if you notify us in writing within thiliy (30)
days after receipt of this notice that you dispute the debt or any part of it, we will request that the creditor
obtain verification of the debt and mail it to you. Third, if you request in writing within thirty (30) days
after receipt of this notice, we will request that the creditor provide you with the name and address of the
original creditor, if different from the current creditor. PLEASE BE ADVISED THAT LEGAL ACTION
AND/OR FORECLOSURE PROCEEDINGS MAYBE COMMENCED AGAINST YOU DURING THE
THIRTY (30) DAY PERIOD REFERRED TO IN THIS PARAGRAPH.
All written requests should be addressed to Trinity Financial Services, LLC, 2618 San Miguel Drive,
Suite 303, Newport Beach, CA 92660.

Sincerely,

WRIGHT, FINLAY & ZAK, LLP

 ~                           C     CN-{V'VS
Joyce Copeland Clark
Director Default Operations




Nevada OfflCC                    Arizona OrflCC                        Washington Officc                UtahOfficc                         Oregon OffICe
7785 W. Sahara Ave., Suite 200   16427 N. Scottsdale Road, Suite 300   3600 lSlh A\'c \V .. Suite 202   2975 W. Exccutiw Pkwy. SUlle 233   121 SW Morrison. Suite 1100
Las Vegas, NY 89117              Scottsdale, AZ 85254                  Seattle, WA 98119                Mailbox 155                        Portland, OR 97204
Main Phone: (702) 475-7964       Main Phone: (949) 477-5050            Main Phone: (425) 296-3116       !.chi, UT 84043                    Main Phone: (503) 479-8871
Main Fax: (702)946-1345                                                                                 Main Phone: (801) 893-4901         Main Fax (949) 608-9142
                                                                                                        Main Fax (702) 946-1345
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 34 of 80




   EXHIBIT 3
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 35 of 80




 April 8, 2020

 Vi a Priority Mail



 RI CHARD DWYER
 25322 113TH AVE SE
 KENT, WA 98030



           RE:         Account No.:                                   1500022022
                       Property Add ress:                             25322 113TH AVE SE, KENT, WA 98030
                       Unpa id Principal Ba lance :                   $52,396.20

 Dear RICHARD DWYER :

 We have revi ewed your file and confirmed th at yo ur payments on t he above-referenced Account are
 seriously past due .

 Trinity Financial Servi ces, LLC is owner and se rvicer for your account, and we understand that it ca n be
 difficult to get your financial matters back on tracl< and that catching up on past mortgage payments ca n fee l
 overwhelming. We also know t hat the COVID-19 virus has placed a strain on many homeowners.

We want to offer assistance to you, if you need help. Please find enclosed important information regard ing
the assistance you may be eligible for or simply ca ll us at (855 ) 818-6806 to ex plore wh at assista nce may be
ava ilable to you.

To get started, please complete th e enclosed Mortgage Ass ist ance Application form and se nd it with the
other req uired documents to us by any of the following methods:

           Emai l to:                          LNP@trinityfs.com
           Overn ight mail to:                 Trini t y Financial Services, LLC
                                               2618 Sa n Miguel Drive, Ste 303
                                               Newport Beach, CA 92660
           Fax t o:                            (805) 516-2608

Furt her, please advise us of any recent hardship you may be experiencing due to t he COVID-19 virus, so we
might assess w hat other assistance might be ava ilable to you l

By returning Mortgage Assistance Application form and the other required documents, we will be better able
to conduct an ind ividua l assessment of your fil e for a possible loan modification or other accommodation to
avoid foreclosure.




I Pl e ase note that those arfecte d   by COVID· 19 may lle e ligibl e fOI ' s pecific IWl'd ship pl'ogl'ams based 011 state.


Phone: 855.818 .8a06          I Fax:     855.881.4499         I 2818 IIln Miguel Drlv./          Suite 303, Newport Beach, CA 92660

                                                               www.TrIl1ItyFS .co l11
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 36 of 80



If you need assistance filling out the Mortgage Assistance Application form or have questions about the
required documents or your Account, please do not hesitate to contact us at (855)818-6806.

Please note that because of the age of your Account and the time that has passed since your last payment, it
is possible that we cannot sue you to collect what you owe. We do, however, have a continuln~ and
enforceable security Interest in the Property described above. If you choose not to make payments or
explore loan modification or other options with us, we may elect to enforce our security interest and
foreclose on the Property.



Sincerely,



Loss Mitigation Department
Trinity Financial Services, LLC



THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT
PURPOSE. THIS IS A COMMUNICATION FROM A DEBT COLLECTOR.

NOTICE: If you are entitled to the protections of the United States Bankruptcy Code (11 U.S.C §§ 362; 524)
regarding the subject matter of this letter, the following applies to you: THIS COMMUNICATION IS NOT AN
ATTEMPT TO COLLECT, ASSESS, OR RECOVER A CLAIM IN VIOLATION OF THE BANKRUPTCY CODE AND IS
FOR INFORMATIONAL PURPOSES ONLY. You may wish to consult with an attorney regarding this letter,
your bankruptcy and the ability of the lender to enforce its lien on collateral, if any. If you have obtained a
discharge under the Bankruptcy Code, this letter is for informational purposes or to protect our interests ira
any collateral.




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         Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 37 of 80



                        Mortgage Assistance Application
If you are havin g mortgage payment challenges, please complete and submit thi s application, along with
th e required documentation, to us (Trinity Financial Se rvi ce s, LLC) by one of the methods describ ed on
the accompanying letter. We will contact you within five business days t o acknowledge receipt and let
you know If you need to send additional information or documents.

We will use the Information you provide to help us ident ify the assistance you may be eligible to
receive. If yo u need help completing thi s applicati on, please conta ct us at (855)818-6806 .

For a li st of HUD-a pproved housing counse ling age ncies that can provide foreclosure prevention
information, contact one of th e fo llowing federal government agencies :

    •   The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
        www.hud .gov/counseling
   •    The Consumer Financia l Protection Burea u (CFPB) at (855) 411-2372 or
        www .consumerflnance.gov/mortgagehelp
If you need assistance with translation or other langLl age assistance, HUD-approved housing coun seling
agencies may be able to assist you. These services are provided without charge .


Borrower Information
Borrower's name: _ __ _ __ __ __ _ _ _ __ _ _ _ _ __ _ _ __ __ _ _ __

Social Security Number (last 4d igit s): _ _ _ __ __ _

E-mai l address : _ _ __ _ _ _ _ _ __ __ _ __ _ _ _ _ __ _ _ __ __ _ __

Primary phone numbe r: _ _ __ _ _ _ _ __ _ _ _ _ _ _,D Ce ll 0 Home 0 Work 0 Oth er

Alternate phone number: _ _ _ _ _ __ __ __ __ __ ,D Cell                                0 Home 0 Work 0 Other

Co-borrower' s name: _ _ _ __ _ __ __ __ _ _ _ _ _ _ __ __ __ _ _ _ __

Social Security Number (last 4d igits): _ _ _ _ _ __ _

E-mailaddress : _ _ __ _ _ _ __ _ _ _ _ _ _ _ __ _ _ __ __ __ __ _ __

Primary phone number: _ _ _ _ _ _ _ _ __ __ _ _ _ _D Ce ll                              0 Home 0 Work 0 Other

Alternate phone number:_ _ _ _ _ __ __ _ _ __ __ D Ce ll                                0 Home 0 Work 0 Other

Preferred contact method (choose all that apply): 0 Ce ll phone 0 Home phone                      0 Work phone 0 Email
o Text - ch ecking thi s box indicat es your consent for tex t messaging
Is either borrower on active duty with the military (Including th e National Guard and Re serves), th e
dependent of a borrower on active duty, or the surviving spouse of a member of the military who was on
active duty at th e time of death? 0 Yes 0 No




Property Address: _ _ _ _ _ _ _ __ _ _ __ _ __ _ _ _ __ __ __ _ _ __ _


Mailing address (if different from property address):_ __ _ _ _ _ __ __ _ _ __ _ __ _

• The property Is currently:   0 A primary residence    0 A second home 0 An investment property
• The property is (select al l that apply):   0 Owner occupied 0 Renter occupied 0 Vacant


                                                                         "' ~ .. " ......... ~ .,." . "   A   •   ' '''''' ... .   , .~   I , tA,   ,~ '"
              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 38 of 80


   • I want to: 0 Keep the property 0 Se ll the prope rty 0 Transfer ownership of the property to my servicer
      o Undecid ed

   Is the property listed for sa le? 0 Yes 0 No - If yes, provide the li sting agent's name and phone
   number- or indicate "for sa le by owner" if applica ble: _ _ _ _ __ _ __ _ _ __ __ _ _ __

   Is the property subject to condominium or homeowners' association (HOA) fees? 0 Yes 0 No - If yes, indicate
   monthly dues: $_ _ __


                            formation
  The hardship ca using mortgage payment challenges began on approximately (date) _ _ _ _ and is
  believed to be:
       o     Short-term (up to 6 months)
       o     Long-term or permanent (greater than 6 months)
       o     Re solved as of(date ) _ _ _ _ _ _ _ __




  o                                                                                    •   Not          re d
  o     Reduction in income: a hardship t hat has ca used a                            •   Not re quired
        decrease in you r Income due to circumsta nces outside
        your control (e.g., elimination of overtime, reduction
        in     lar worki           a reduction in base
  o     Increase in housing-related expenses : a hardship that                         •   Not required
        has caused an Increase in your housing expenses due
        to circumstances outside your control (e.g., uninsured
        losses, increased property taxes, HOA specia l


  o    Disaster (natural or man-mad e) impacting t he                                  •   Not req uired
                                                            I
  o    Long-term or permanent disability, or seriou s illness                          •   Written statement from the
       of a borrower/ co-borrower or dependent family                                      borrower, or other
       member                                                                              documentation verifying
                                                                                           disability or ill ness
                                                                                           Note: Deta iled med ica l information is not
                                                                                           requ ired, and information from a medica l
                                                                                            rovid er is not
 o     Divorce or lega l separation                                                    •   Fina l divorce decree or final sepa ration
                                                                                           agreement OR
                                                                                       •   Recorded                  deed
 o     Sepa rati on of borrowe rs unrelated by marriage, civi l                       •    Recorded quitclaim deed OR
       union, or similar domestic pa rtnership under                                  •    Legally bind ing agreement evidencing
       applicabl e law                                                                     that the non- occupying borrower or
                                                                                           co-borrower has relinquished all rights
                                                                                           to
 o     Death of borrower or death of either the primary or                            •    Death ce rtificate OR
       secondary wage ea rner                                                         •    Obituary or newspape r article reporting
                                                                                           death


1. Tri niLy Financi al Se rvl ces,   LLC may I'eq ues t 0 1' require addilional docu mentation alhH' Ii I'cvicw oryon l' fil e.


                                                                                                                                  ,,'   " .",~   .,
          Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 39 of 80



 0   Distant employment transfer/relocation                    •     For active duty service members:
                                                                     Permanent Change of Station (PCS)
                                                                     orders or letter showing transfer.
                                                               •     For employment transfers/ new
                                                                     employment: Copy of signed offer
                                                                     letter or notice from employer
                                                                     showing transfer to a new location or
                                                                     written explanation if emp loyer
                                                                     documentation not app licable, AND
                                                               •     Documentation th at reflects the amount
                                                                     of any relocation assistance provided
                                                                     (not requ ired for those with PCS orders)
 0 COVID-19 Virus                                              •     Not required
 0 Othe r - hards hip that is not covered above:               •     Written explanati on describing t he
                                                                     details of the hardship and any relevant
                                                                     documentation




     rrower Incom
Please enter all borrower income amount s in middle column. We will use t his information toward eva luating
you for eligibility for a loss mitigation option.




 Gross (pre-tax ) wages, sa lari es and                    •       Most re cent pay stub and documentation
 overtime pay, comm issions, tips, and                             of year-to- date earn ings if not on pay
 bonuses                                                           stub OR
                                                           • Two most rece nt bank stateme nts
                                                                    I                amoun t s
 Se lf-employment Income                      $            •   Two most rece nt bank statements
                                                               showing se lf- employed income
                                                               deposit amounts OR
                                                           •   Most rece nt signed and dated quarterly or
                                                               year-to-date profit/loss stateme nt OR
                                                           •   Most rece nt complete and signed business
                                                               tax return
                                                               OR
                                                           •       Most recent complete and signed
                                                                   ind ividual fede ra l income tax return
                                              $            •
 Taxa ble Socia l security, pension,          $            • Two most rece nt bank stateme nts
 disa bility, death benefits, adoption                       showing deposit amou nts OR
 assista nce, housing allowance, and                       • Award letters or other documentation
 other pu blic assista nce                                   showing the amou nt and freq uency of
                                                             the benefits
 Non-taxa ble Social Security or disability   $            • Two most rece nt bank stateme nts
 income                                                                    i amounts OR
         Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 40 of 80



                                                           •   Award letters or other documentation
                                                               showing the amount and frequency of
                                                               the benefits
Renta l income (rents received, less         $             •   Two most recent bank st atements
expenses other than mortgage                                   demonstrating receipt of rent OR
expe nse )                                                 •   Two most rece nt deposited rent checks
Investment or insurance Income               $             •   Two most recent investment stateme nts OR
                                                           •   Two most recent ba nk st atements
                                                               supporting rece ipt of th e income
Othe r source s of 1i1come not list ed       $             •   Two most rece nt bank statements
above (Note: On ly Incl ude alimony, child                     showi ng receipt of income OR
support, or separate maintenance                           •   Oth er documentation showing t he
income if you choose to have it                                amount and frequency of the
consid ered for repaying this loa n)                           income


  urrent 80 rower As~ts
Exclude retirement fu nds such as a 401(k) or Individual Retirement Account (IRA), and college
savings accounts such as a 529 plan.

Checking account(s) and cash on hand                                             $
Savings, money market funds, and Certificates of Deposit (CDs)                   $
Stocks and bond s (non-retirement accounts)                                      $
Other:                                                                           $




                                                                                            ,, '    ••• r,
          Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 41 of 80



                        to
I hereby authorize Trinity Financial Se rvices, LLC and/or any designated age nt, assistant, Title
Company or its agents to verify any and all information perta ining to th e mortgage or property
deta iled below and any additional financial information pertaining to thi s property and individ ua l
Borrower.


It is understood a photocopy or fa x of thi s form wil l also serve as authorization,




Property Address: _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Current Owner of 1" Mortgage:

Mortgage Company: _ __ _ _ __ __ _ __ _

Account Number: _ __ _ _ _ _ _ _ _ _ __ _ _

AccountOpened: _ __ _ _ _ _ _ _ _ _ __ __

Note Amount: _ _ __ _ _ _ _ _ _ _ _ _ _ __

Current Owner of 2nd Mortgage:

Mortgage Company: _ _ _ _ _ _ _ _ _ _ __ _

Account Number: _ _ __ _ _ _ _ _ _ _ _ _ __

AccountOpen ed: ____ _ _ _ _ _ _ _ _ __ _ _

Note Amount: _ _ _ __ _ __ _ _ __ __ _ _




Authorized by:

Borrower Printed Name: _ _ _ _ __ _ __ _ _ _ _ _ SSN',, _____ DOB: _ _ _ _ _ __

Borrower signature: _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ Date: _ _ _ _ _ __ __
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 42 of 80




1. I certi fy and acknowledge th at all of the information in t his Mortgage Assista nce Application Is truthful, and
the hardship I Identified contributed to my need for mortgage relief. Knowingly submitting false inform ation
may violate Federa l and other applicable law.

2. I agree to provide Trinity Financia l Servi ces, LLC with all required documents, including any additional
supporting documentation as requested, and will respond in a timely manner to all Trinity Financial Services,
LLC communications.

3 . I acknowledge and agree that Trinity Financial Services, LLC is not obligated to offer me assistance based
solely on the represe ntations in this document or other documentation submitted in connection with my
req uest.

4. I consent to Trinity Financia l Servi ces, LLC obta ini ng a current cred it report for t he borrower ,lI1d co -
borrower.

5. I consent to the disclosure by Trinit y Financial Services, LLC of any personal information collected for the
purpose of processing my mortgage assistance reque st, to any third party tha t deal s with my first lien or
subordinate lien (i f app licable) mortgage loa n(s), including Fann ie Mae, Freddie Mac, or any investor, insurer,
guarantor, or servicer of my mortgage loan(s) or any companies that provide support se rvices to th em.
Persona l informati on may include, but is not limited to: (a) my name, add ress, te lephone number, (b) my
Social Securit y number, (c) my credit score, (d) my Income, and (e) my payment history and information
about my account balances and activity.

6. I agree th at the terms of thi s borrower certification and agreement will apply to any loan modifica ti on
plan, repayment plan, or forbearance plan t hat I may be offered based on this application .

7. I consent to being contacted concerning this application for mortgage ass ista nce at any telephone number,
including mobile telephone number, or email address I have provided to Trinity Financial Services, LLC or the
origi nal lender, prior se rvl cer, or other authorized t hird party.


Borrowe r sign ature : _ _ _ - -_ _ __ _ _ __ _ _ _ _ _ _ _ Oate: _ _ __ _ __ __



Co-Borrower signature : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Oate: _ _ __ _ _ _ __

Please submit your completed application, together with the required documentation, to Trinity Financial
Services, llC via:

         Email to:                   lNP@trinityfs.com
         Overnight mall to:          Trinity Financial Services, llC
                                     2618 San Miguel Drive, Ste 303
                                     New port Beach, CA 92660
         Fax to:                     (805) 516-2608

We will contact you within five business days to acimowl edge receipt and let you know if you need to send
additional Information or documents.

We will use the information you provided to help us identify the assistance you may be eligible to receive •
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 43 of 80


                                          Information on Avoiding Foreclosure

Learn more Abou t Options to Avoid Foreclosure
The variety of options summarized be low may help you kee p your home. For example, you may be
eligible to mod ify your mortgage, lowering your mont hly payment to make it more affordabl e. Contact
us at (855) 818-6806 to determine if you qualify.

Depe nding on your circumstances, staying in your home may not be possible. In this ca se, a short sa le or
deed-in-lieu of foreclosure may be a better choice than foreclosure - see t he table be low for more
information.

Don't delay, as failure to take action may result in forecl osure proceed ings be ing initi ated on your mortgage.
Howe ver, please be aware that we will not initiate forec losure proceedings where prohibited in those
jurisd ictions wh ere applicable law has provided additiona l foreclosure protections for borrowers affected by
COVID-19.


I     OPTIONS TO
     STAY IN YOUH
         HOME
    Reinstatement       Pay        total amount you owe in a lump sum
                                                          j                      Allows you to avoid foreclosure by bringing
                        payment and by a specific date we agree to.              your rl'lortgage current if you can show you
                        This may follow a forbearance plan as described          have funds that will become ava il able at a
                        below                                                    specific date in the future.

    Repayment Plan      Pay back your past-due payments together with
                                                                                          - - _._ ---
                                                                                 Allows you time to catch up on late payments
                        your regular payments over an extend ed period           without having to come up with a lump sum.

    Forbearance
                        of time.
                           ~   -"     -                   .~
                        M ake reduced mortgage payments or no
                                                                -----            Gives you time to improve your financia l
    Plan                mortgage payments for a specific period of               situation and possibly qualify for a better
                        tim e.                                                   option than would be ava ilab le right now.

                                            - - . . - ... -=-   ---
    Modification        Receive modified mortgage terms t o make it              Perma nently modifies your mortgage so that
                        more affordable or manageable .                          your payments or terms are more manageable
                                                                                 as a permanent solution to a long-term or
                                                                                 permanent hardship.



                                                                                              -- -.,....         -       -           ~



      OPTIONS TO                                                                <;-
      LEAVEYOUH
         HOME
                                            •                                                              BENEFIT                       !,
                                                                                                                     .        - -        I
    Short Sale          Sail your home and payoff a portion of your              All ows you to transition out of your horne
                        mortgage balance when you owe more on the                wit hout going through foreclosure . In some



                       r
                        home than it is worth.                                   cases, re location assistance may be ava ilab le.


    De-;dTn:Ueu   7"    Transfer the o; ; rshlp of your       pro;';;ty ~. -   'u ii';;s you to t; ansition out of your home
    Foreclosure                                                                  without going through foreclosure. In some
                                                                                 ca ses} re locat ion assistance via cash for keys
       ____            _ _                                      _ __            m ay be ava ilable             _.              _ _..I


We Want to Help
Take action to ga in peace of mind and control of your housing situation. Call us at (855) 818-6806
and we'll talk about ava ilable option s and help you understand th e forms and documents we need
from you to determin e if you qualify for an option to avoid for eclosure.
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 44 of 80




           TRINITY
           fll'I/\H( I/\l ,UNIC E) 1I (




                                     LOAN NEGOTIATION & APPLICATION
Dear Borrower:

           This letter is in response to your recent inquiry regard ing a temporary payment plan, short sale, or
settlement agreement regarding the above referenced loan. Please complete this entire package with supporting
documentation and forward it to Trinity Financial Services, LLC.

           DO NOT send an incomplete package, or your request will not be considered.
           No package will be processed until ALL items requested herein are received.

           The documentation you provide will be reviewed and verified. The information obtained will help in
assessing your financial situation. Please be advised that submission of this information is not a guarantee that a
payment plan or short sale of any kind will be approved,

                                          Please send this completed package via:

                                                                Email:

                                                        LNP@trinityfs,com

                                                                 OR

                                                       Overnight address:
                                                 Trinity Financial Services, LLC
                                                 2618 San Miguel Drive, Ste 303
                                                  Newport Beach, CA 92660
                                                                  OR
                                                                 Fax:
                                                           (805) 516-2608

       THIS IS AN ATTEMPT TO COLLECT A DEBT. THIS COMMUNICATION IS FROM A DEBT COLLECTOR ANY
  INFORMATION OBTAINED WILL BE USED FOR THAT P URPOSE. YOII have a right to dispute this debl. ;11 part or il/fitt/,
  with Trillity Fillancial Services, LLC withill 30 days. JfTrillity Fillancial Services, LLC does 1101 receive (l response from yO ll
                                          withill 30 days, the debt will be assumed VALID.




 Toll Free: 855.818.6806        I   Fax: 805.516.2608      I   2618 San Miguel Dr., Suite 303 Newport Beach, CA. 92660

                                               www .Trini tyFS.com
              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 45 of 80




         TRINITY
          cINAH' 'IAI SIIN ICES ll(



                                                            EXHIBIT A
                                          Authorization to Release Information

     I hereby authorize Trinity Financial Services, LLC and/or any designated agent, assistant, Title Company
     or its agents to verify any and all information pertaining to the mortgage or property detailed below and
     any additional financial information pertaining to this property and individual Borrower.

     It is understood a photocopy or fax of this form will also serve as authorization,




     Property Address: _ _ _ __ _ _ __ __ _ _ _ __ _ _ __ _ _ _ _



     Current Owner of l,t Mortgage
     Mortgage Company:
     Account Number:
     Account Opened:
     Note Amount:



     Current Owner of 2nd Mortgage
     Mortgage Company:
     Account Number:
     Account Opened:
     Note Amount:




     Authorized by:



     Borrower Signature                              Social Security Number       Date of Birth



     Printed Name                                    Date




Toll Fre e: 85S . 81B .6806   I Fax:   805.516.2608 I 2618 San Miguel Dr., Suite 303 Newport Beach, CA . 92660

                                            www .Trin ityFS. co m
              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 46 of 80




        TRINITY
         HH,\HUI\l. ,UN iteS LLC



                                                  EXHmITB
                                 Borrower's Statement of Attorney Representation

              Currently, a lawsuit has not been filed in your state regarding this issue. Please contact your attorney
   immediately. If this matter is not resolved, Trinity Financial Selvices, LLC will pursue this matter by any lega l
   means necessary, including but not limited to, possible foreclosure of the property specified in the mortgage/deed of
   trust or possible initiation of a lawsuit for personal liability ofycur debt to Trinity Financial Services, LLC.

              You afC not required to be represented by an attorney but it is HIGHLY recommended. If you are not
   represented by an attorney but wish to be, you may contact the American Bar Association for a referral to an attorney
   in your state. The link to the American Bar Association's referral website is www.FindLegaIHelp.org.

         [J   I am currently not represented by an attorney. I have been advised that legal representation is
              recommended but not required. Please contact me directly regarding the negotiation of this loan. I
              reserve the right to retain an attorney at a future date.

         [J   I am currently not represented by an attorney, but I am in the process of obtaining an attorney. I have
              contacted the American Bar Association andlor have used an attorney referral service. Until an attorney
              has contacted Trinity Financial Services, LLC please contact me directly.

         [J   I am currently represented by an attomey. Their contact infOimation is as fo llows:


              Firm Name:

              Attorney Name:
              Address:




              Phone Number:

              Fax Number:


              Emai l:




    Borrower Signature



    Printed Name                                           Date




Toll Free: 855.818.6806     I   Fax: 805.516 .2608 I 2618 San Miguel Dr., Suite 303 Newport Beach, CA. 92660

                                         www.Trin ityFS .com
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 47 of 80




        TRINITY
         fll'1,\HC 11\, \1 PVICES. III


                                                    EXHIBITC
                                                 (OPTIONAL FORM)

              You may conlact the U.S. Department of Housing and Urban Development (HUD) for information and
   assistance in credit counseling. You may contact a HUD certified credit counselor via their website
   htt p://www.hud.gov/offi ceslhsg/sflllhcc/fc/ orcall (888) 99S-HOPE (4673) to immediately speak to an advisor.
   These credit counseling services are third party services provided by the U.S. Government under the Making Home
   Affordable program (www.Maki ngHomeAffordable.gov)andare FREE for you and they will act in YOUR best
   interest. Please contact the HUD for more information on credit counseling.

                                         Borrower's Statement of Credit Counseling

         o   I have received a briefing from a credit counseling agency approved and certified by the U.S. Department
             of Housing and Urban Development (HUD) and they assisted me in performing a related budget analysis,
             and I have a certificate from the agency describing the services provided to me. Attach a copy of the
             certificate and a copy of any debt repaym ent plan developed through the agency. You must also sign the
             below Affidavit o/Credi' Counseling.

        a    I have received a briefing from a credit counseling agency approved and certified the U.S. Department of
             Housing and Urban Development (HUD) and they assisted me in performing a related budget analysis, but
             I do not havc a certificate from the agency describing the services provided to me. You mllst sign the
             below Affidavit o/Credit Co unseling.

                                                Affidavit of Credit Counseling

             I, (Name)                     , received credit counseling from (Name of Credit Counselor)
             ;::----:,---_---:=~'  an agency certified and approved by the U.S. Department of Housing and Urban
             Development (HUD) to provide credit counseling in (State)                        I [received/did not
             recei ve] a case reference number from the credit counselor [which is #                   ]. A debt
             repayment plan [was/was not] prepared.

             This credit counseling session was conducted via:

        o    Telephone on Date(s)

        o    Mail Correspondence on Date(s)

        o    E-Mail on Date(s)

             The contact infonnation to verifY my credit counseling session(s) is as follows:

             Credit Counselor Company Name:

             Credit Counselor Name:

             Credit Counselor Company Address:

             Credit Counselor Company Phone:




Toll Free: 855.818.6806     I   Fax: 805 .516.2608   I   2618 San Miguel Dr., Suite 303 Newport Beach, CA . 92660

                                         www.TrinityFS.com
              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 48 of 80




         TRINITY

    I certify that the infonnation provided in this Borrower's Statement of Credit Counseling and Affidavit
    of Credit Counseling is true and correct. I authorize Trinity Financial Services, LLC to verify this
    infonnation.



              Borrower Signature



              Printed Name                                                Date
     *This form was developed by Trinity Financial Services, LLC for internal use.




Toll Free: 855 .818 .6806    I Fax:   805 .516.2608    I   2618 5an Miguet Dr., Su ite 303 Newport Beach , CA . 92660

                                            www .Tri nityFS .com
             Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 49 of 80




        TRINITY
                                                  EXHIBITD
                                        Uniform Borrower Assistance Form

     Please complete the following page. Form 710 is a standard form provided by Fannie Mae and Freddie
     Mac to determine if you are eligible for any government programs. Trinity Financial Services, LLC will
     NOT apply to government aide on your behalf. Trinity Financial Services, LLC will use the completed
     form for informational use only. Tfyou are having difficulty in completing this form, please contact a
     HUD approved credit counselor to assist you. More information can found on Exhibit C regarding
     contacting a HUD approved credit counselor.




Toll Free: 855 .818.6806   I Fax:   805.516 . 2608   I   2618 San Miguel Dr., Su ite 303 Newport Beach, CA. 92660

                                         www .Trin ityFS .com
              Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 50 of 80




         TRINITY
          FIN/lHCI/lL SEINIC!cS. LLC


                                     APPLICATION REOIDREMENTS CHECKLIST

         •    Sign authorization permitting Trinity to discuss this loan with a third party, ifnecessary. (Attached
              as Exhibit A - Must be received with initial application)                                        .

         •    Complete the "Borrower's Statement of Attorney Representation" (Attached as Exhibit B -
              Optional only if represented by attorney)

         •    Complete the "Borrower's Statement of Credit Counseling" (Attached as Exhibit C - Optional)

         •    Complete the "Uniform Borrower Assistance Form" (Cover Page as Exhibit D with Fannie
              Mae/Freddie Mac Standard Form 710 attached)

         •    Income Requirements - Household income is required in order to be consider for any type of
              workout assistance request

         •    Attach "Required Income Documentation (Tax Returns)" for tax years 2016-2018 - Federal tax
              returns only, state tax returns are not required.

         •    Attach "Required Income Documentation (Misc. Documentation)". Please see requirements
              reference in Page 2 of the UnifOlm Borrower Assistance Form (Exhibit D).
                  D   'Income documentation for every source of income in the household is required'
                   o For contribution income submit signed letter of contribution with monthly amount or
                      percentage of income being contributed. All income documents listed below apply to
                      contributors as well.

         •    Attach "Hardship Affidavit (Letters)". Please see requirements referenced in Page 3 of the
              Unifonn Borrower Assistance Form (Exhibit D)
                  D  'Detailed hardship letter is required with hardship description, timeline, confnmation if
                     hardship is still ongoing or if it has ended; attach hardship supporting documents, if
                     applicable'

         •    Attach most recent Senior Mortgage Statement. Mortgage statement lIIust be provided in order
              for package to be reviewed.
                   o 'Senior Lienholder documentation must be dated within 30 days of submission. If Senior
                      servicer is no longer mailing statements, contact servicer to request the most recent
                      statement OR a payoff AND a reinstatement'
                   o If monthly payment for senior lien does not include property taxes and insurance, please
                      submit most recent property tax bill AND homeowners insurance declaration page.

         •    Attach Senior Lienholder Modification Agreement (ALL pages), if account has been modified at
              any given time during the life of the current existing loan.

         •    W2 Wage Earners - Attach most recent, consecutive pay stubs (30 days worth).

         •    Self-Employment - Attach most recent quarterly profit/loss sheet.


T oll Free: 8 5 5.818 .6806   I   Fax: 805 .516.2608   I   2618 San Miguel Dr., Suite 303 Newport Beach/ CA . 92660

                                            www .TrinityFS.co m
            Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 51 of 80




        TRINITY
        •   Benefits - If receiving SSI, SSD, Retirement or any other type of benefits, submit recent award
            letter along with proof of monthly income.

        •   Child Support, alimony or separate maintenance - NOTICE - Not needed to be revealed if you do
            not choose to have it considered for modification.

        •   Business Ownership - Attach business ownership documents (LLC, articles of incorporation,
            etc ... ), reflecting owners' names and percentage of ownership.

        •   Attach the last three (3) most recent, consecutive months of personal and / or business bank
            statements.
                 o 'Statements for ALL open checking and savings acconnt are required. Submit ALL pages
                    for every statement, including blank pages or pages with bank writing on them'

        •   Investments, pension and retirement accounts - Attach a copy of the most recent monthly or
            quarterly statement for all open accounts, all pages.

        •   RentaliInvestments Properties - Following documents required for every property owned besides
            subject property.
                o Most recent mortgage statement required for all mortgage accounts related to each
                    property. If senior mortgage payment does not include taxes and insurance, submit most
                    recent property tax bill and homeowners insurance declaration page.
                o RentallLease agreement with current dates, along with proof of rental income being
                    received.
                o   If any property is vacant, submit proof
                o   If any property is going through foreclosure or might be lost in foreclosure, submit
                    supporting documentation

        •   Detailed household monthly expenses
                o Ifspace provided on UBAF is not sufficient to list all household monthly expenses, submit
                    a detailed breakdown list of expenses on a separate document. This is necessary to fully
                    understand the household monthly budget, accurately.

        •   Attach most recent Senior Payoff and Reinstatement Statement

        •   FOR SHORT SALE REQUESTS Submit estimated HUD- I with current dates




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                                     www .TrinityFS .com
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 52 of 80




   EXHIBIT 4
        Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 53 of 80



                        CERTIFICATION OF ENROLLMENT

                         SUBSTITUTE HOUSE BILL 2476


                            Chapter 30, Laws of 2020

                                66th Legislature
                              2020 Regular Session


                                     DEBT BUYERS



                       EFFECTIVE DATE: June 11, 2020




Passed by the House February 12, 2020                  CERTIFICATE
  Yeas 96 Nays 0
                                           I, Bernard Dean, Chief Clerk of the
                                           House of Representatives of the
             LAURIE JINKINS                State of Washington, do hereby
Speaker of the House of Representatives    certify   that    the   attached  is
                                           SUBSTITUTE    HOUSE   BILL   2476 as
                                           passed     by     the     House   of
                                           Representatives and the Senate on
Passed by the Senate March 3, 2020         the dates hereon set forth.
  Yeas 48 Nays 0

                                                       BERNARD DEAN
              CYRUS HABIB
                                                                      Chief Clerk
President of the Senate
Approved March 18, 2020 10:33 AM                          FILED

                                                     March 18, 2020




                                                   Secretary of State
               JAY INSLEE                          State of Washington
Governor of the State of Washington
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 54 of 80

                            SUBSTITUTE HOUSE BILL 2476


                    Passed Legislature - 2020 Regular Session

     State of Washington          66th Legislature           2020 Regular Session

     By House Civil Rights & Judiciary (originally sponsored by
     Representatives Walen, Duerr, Kloba, Kilduff, Leavitt, Lekanoff,
     Orwall, Davis, Doglio, Frame, Macri, Goodman, and Ormsby)

     READ FIRST TIME 01/28/20.




 1       AN ACT Relating to debt buyers; amending RCW 19.16.100,
 2   19.16.260, 19.16.440, and 19.16.450; and creating a new section.


 3   BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF WASHINGTON:


 4       Sec. 1.   RCW 19.16.100 and 2019 c 227 s 3 are each amended to
 5   read as follows:
 6       Unless a different meaning is plainly required by the context,
 7   the following words and phrases as hereinafter used in this chapter
 8   shall have the following meanings:
 9       (1) "Board" means the Washington state collection agency board.
10       (2) "Claim" means any obligation for the payment of money or
11   thing of value arising out of any agreement or contract, express or
12   implied.
13       (3) "Client" or "customer" means any person authorizing or
14   employing a collection agency to collect a claim.
15       (4) "Collection agency" means and includes:
16       (a) Any person directly or indirectly engaged in soliciting
17   claims for collection, or collecting or attempting to collect claims
18   owed or due or asserted to be owed or due another person;
19       (b) Any person who directly or indirectly furnishes or attempts
20   to furnish, sells, or offers to sell forms represented to be a
21   collection system or scheme intended or calculated to be used to
                                         p. 1                           SHB 2476.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 55 of 80
 1   collect claims even though the forms direct the debtor to make
 2   payment to the creditor and even though the forms may be or are
 3   actually used by the creditor himself or herself in his or her own
 4   name;
 5       (c) Any person who in attempting to collect or in collecting his
 6   or her own claim uses a fictitious name or any name other than his or
 7   her own which would indicate to the debtor that a third person is
 8   collecting or attempting to collect such claim;
 9       (d) ((Any person or entity that is engaged in the business of
10   purchasing delinquent or charged off claims for collection purposes,
11   whether it collects the claims itself or hires a third party for
12   collection or an attorney for litigation in order to collect such
13   claims;)) A debt buyer as defined in this section;
14       (e) Any person or entity attempting to enforce a lien under
15   chapter 60.44 RCW, other than the person or entity originally
16   entitled to the lien.
17       (5) "Collection agency" does not mean and does not include:
18       (a) Any individual engaged in soliciting claims for collection,
19   or collecting or attempting to collect claims on behalf of a licensee
20   under this chapter, if said individual is an employee of the
21   licensee;
22       (b) Any individual collecting or attempting to collect claims for
23   not more than one employer, if all the collection efforts are carried
24   on in the name of the employer and if the individual is an employee
25   of the employer;
26       (c) Any person whose collection activities are carried on in his,
27   her, or its true name and are confined and are directly related to
28   the operation of a business other than that of a collection agency,
29   such as but not limited to: Trust companies; savings and loan
30   associations; building and loan associations; abstract companies
31   doing an escrow business; real estate brokers; property management
32   companies collecting assessments, charges, or fines on behalf of
33   condominium unit owners associations, associations of apartment
34   owners, or homeowners' associations; public officers acting in their
35   official capacities; persons acting under court order; lawyers;
36   insurance companies; credit unions; loan or finance companies;
37   mortgage banks; and banks;
38       (d) Any person who on behalf of another person prepares or mails
39   monthly or periodic statements of accounts due if all payments are


                                         p. 2                           SHB 2476.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 56 of 80
 1   made to that other person and no other collection efforts are made by
 2   the person preparing the statements of account;
 3       (e) An "out-of-state collection agency" as defined in this
 4   chapter; or
 5       (f) Any person while acting as a debt collector for another
 6   person, both of whom are related by common ownership or affiliated by
 7   corporate control, if the person acting as a debt collector does so
 8   only for persons to whom it is so related or affiliated and if the
 9   principal business of the person is not the collection of debts.
10       (6) "Commercial claim" means any obligation for payment of money
11   or thing of value arising out of any agreement or contract, express
12   or implied, where the transaction which is the subject of the
13   agreement or contract is not primarily for personal, family, or
14   household purposes.
15       (7) "Debt buyer" means any person or entity that is engaged in
16   the business of purchasing delinquent or charged off claims for
17   collection purposes, whether it collects the claims itself or hires a
18   third party for collection or an attorney for litigation in order to
19   collect such claims.
20       (8) "Debtor" means any person owing or alleged to owe a claim.
21       (((8))) (9) "Director" means the director of licensing.
22       (((9))) (10) "Licensee" means any person licensed under this
23   chapter.
24       (((10))) (11) "Medical debt" means any obligation for the payment
25   of money arising out of any agreement or contract, express or
26   implied, for the provision of health care services as defined in RCW
27   48.44.010. In the context of "medical debt," "charity care" has the
28   same meaning as provided in RCW 70.170.020.
29       (((11))) (12) "Out-of-state collection agency" means a person
30   whose activities within this state are limited to collecting debts
31   from debtors located in this state by means of interstate
32   communications, including telephone, mail, or facsimile transmission,
33   from the person's location in another state on behalf of clients
34   located outside of this state, but does not include any person who is
35   excluded from the definition of the term "debt collector" under the
36   federal fair debt collection practices act (15 U.S.C. Sec. 1692a(6)).
37       (((12))) (13) "Person" includes individual, firm, partnership,
38   trust, joint venture, association, or corporation.
39       (((13))) (14) "Statement of account" means a report setting forth
40   only amounts billed, invoices, credits allowed, or aged balance due.
                                         p. 3                           SHB 2476.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 57 of 80
 1       Sec. 2.   RCW 19.16.260 and 2013 c 148 s 3 are each amended to
 2   read as follows:
 3       (1)(a) No collection agency or out-of-state collection agency may
 4   bring or maintain an action in any court of this state involving the
 5   collection of its own claim or a claim of any third party without
 6   alleging and proving that he, she, or it is duly licensed under this
 7   chapter and has satisfied the bonding requirements hereof, if
 8   applicable: PROVIDED, That in any case where judgment is to be
 9   entered by default, it shall not be necessary for the collection
10   agency or out-of-state collection agency to prove such matters.
11       (b) A copy of the current collection agency license or out-of-
12   state collection agency license, certified by the director to be a
13   true and correct copy of the original, shall be prima facie evidence
14   of the licensing and bonding of such collection agency or out-of-
15   state collection agency as required by this chapter.
16       (2) No debt buyer may:
17       (a) Bring any legal action against a debtor without attaching to
18   the complaint a copy of the contract or other writing evidencing the
19   original debt that contains the signature of the debtor, or:
20       (i) If a claim is based on a credit card debt for which a signed
21   writing evidencing the original debt does not exist, a copy of the
22   most recent monthly statement recording a purchase transaction,
23   payment, or other extension of credit and, if the claim is based on a
24   breach of contract, a copy of the terms and conditions in place at
25   the time of the most recent monthly statement recording a purchase
26   transaction, payment, or extension of credit must also be attached;
27   or
28       (ii) If a claim is based on an electronic transaction for which a
29   signed writing evidencing the original debt never existed, a copy of
30   the records created during the transaction evidencing the debtor's
31   agreement to the debt and recording the date and terms of the
32   transaction and information provided by the debtor during the
33   transaction.
34       (b) Request a default judgment against a debtor in any legal
35   action without providing to the court evidence that satisfies the
36   requirements of rule 803(a)(6) of the rules of evidence and RCW
37   5.45.020 or is otherwise authorized by law or rule that establishes
38   the amount and nature of the debt, including the documents required
39   by (a) of this subsection, and:
40       (i) The original account number at charge-off;
                                         p. 4                           SHB 2476.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 58 of 80
 1       (ii) The original creditor at charge-off;
 2       (iii) The amount due at charge-off or, if the balance has not
 3   been charged off, an itemization of the amount claimed to be owed,
 4   including the principal, interest, fees, and other charges or
 5   reductions from payment made or other credits;
 6       (iv) An itemization of post charge-off additions, if any;
 7       (v) The date of the last payment, if applicable, or the date of
 8   the last transaction;
 9       (vi) If the account is not a revolving credit account, the date
10   the debt was incurred; and
11       (vii) A copy of the assignment or other writing establishing that
12   the debt buyer is the owner of the debt. If the debt was assigned
13   more than once, each assignment or other writing evidencing transfer
14   of ownership must be attached to establish an unbroken chain of
15   ownership, beginning with the original creditor to the first debt
16   buyer and each subsequent sale.
17       (c) Bring any legal action against a debtor without providing a
18   disclosure in the complaint, in no smaller than ten point type,
19   stating each of the following:
20       (i) That the action is being brought by, or for the benefit of, a
21   person or entity that is engaged in the business of purchasing
22   delinquent or charged off claims for collection purposes;
23       (ii) The date the claim or obligation was purchased;
24       (iii) The identity of the person or entity from whom or which the
25   claim or obligation was purchased;
26       (iv) That the plaintiff may have purchased this claim or
27   obligation for less than the value stated in the complaint;
28       (v) If the claim or obligation was at any time sold without any
29   representation or warranty of accuracy, a statement to that effect;
30   and
31       (vi) That the action is being commenced within, and is not barred
32   by, an applicable statute of limitations.


33       Sec. 3.   RCW 19.16.440 and 1994 c 195 s 11 are each amended to
34   read as follows:
35       The operation of a collection agency or out-of-state collection
36   agency without a license as prohibited by RCW 19.16.110 and the
37   commission by a licensee or an employee of a licensee of an act or
38   practice prohibited by RCW 19.16.250 or 19.16.260 are declared to be
39   unfair acts or practices or unfair methods of competition in the
                                         p. 5                           SHB 2476.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 59 of 80
 1   conduct of trade or commerce for the purpose of the application of
 2   the ((Consumer Protection Act)) consumer protection act found in
 3   chapter 19.86 RCW.


 4       Sec. 4. RCW 19.16.450 and 1971 ex.s. c 253 s 36 are each amended
 5   to read as follows:
 6       If an act or practice in violation of RCW 19.16.250 or 19.16.260
 7   is committed by a licensee or an employee of a licensee in the
 8   collection of a claim, neither the licensee, the customer of the
 9   licensee, nor any other person who may thereafter legally seek to
10   collect on such claim shall ever be allowed to recover any interest,
11   service charge, attorneys' fees, collection costs, delinquency
12   charge, or any other fees or charges otherwise legally chargeable to
13   the debtor on such claim: PROVIDED, That any person asserting the
14   claim may nevertheless recover from the debtor the amount of the
15   original claim or obligation.


16       NEW SECTION.   Sec. 5.   This act applies prospectively only and
17   not retroactively. It applies with respect to delinquent or charged
18   off claims purchased for collection purposes by a debt buyer on or
19   after the effective date of this section.

         Passed by the House February 12, 2020.
         Passed by the Senate March 3, 2020.
         Approved by the Governor March 18, 2020.
         Filed in Office of Secretary of State March 18, 2020.

                                     --- END ---




                                         p. 6                           SHB 2476.SL
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 60 of 80




   EXHIBIT 5
                                                        Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 61 of 80
                                                                                                       Collection Agencies                                                                       19.16.100

     (b) Grant exemptions from the requirements for the fil-                                                      19.16.250                     Prohibited practices.
                                                                                                                  19.16.260                     Licensing prerequisite to suit.
ing of annual registration statements with the office to chari-                                                   19.16.270                     Presumption of validity of assignment.
table organizations organized under the laws of another state                                                     19.16.280                     Board created—Composition of board—Qualification of
having their principal place of business outside this state                                                                                       members.
                                                                                                                  19.16.290                     Board—Initial members—Terms—Oath—Removal.
whose funds are derived principally from sources outside this                                                     19.16.300                     Board meetings—Quorum—Effect of vacancy.
state and that have been exempted from the filing of registra-                                                    19.16.310                     Board—Compensation—Reimbursement of travel expenses.
tion statements by the statute under whose laws they are orga-                                                    19.16.320                     Board—Territorial scope of operations.
                                                                                                                  19.16.330                     Board—Immunity from suit.
nized if such a state has a statute similar in substance to this                                                  19.16.340                     Board—Records.
chapter.                                                                                                          19.16.351                     Additional powers and duties of board.
     (3) The secretary may adopt rules relating to reciprocal                                                     19.16.390                     Personal service of process outside state.
                                                                                                                  19.16.410                     Rules, orders, decisions, etc.
agreements consistent with this section. [2007 c 471 § 17.]                                                       19.16.420                     Copy of this chapter, rules and regulations available to
                                                                                                                                                  licensee.
     19.09.912 Effective date—1983 c 265. With the excep-
     19.09.912 Effective date—1983 c 265.
     19.09.912                                                                                                    19.16.430                     Violations—Operating agency without a license—Penalty—
                                                                                                                                                  Return of fees or compensation.
tion of section 19 of this act, this act shall take effect January                                                19.16.440                     Violations of RCW 19.16.110 and 19.16.250 are unfair and
1, 1984. [1983 c 265 § 21.]                                                                                                                       deceptive trade practices under chapter 19.86 RCW.
                                                                                                                  19.16.450                     Violation of RCW 19.16.250—Additional penalty.
     Reviser's note: "Section 19 of this act" is an uncodified appropriation                                      19.16.460                     Violations may be enjoined.
section.                                                                                                          19.16.470                     Violations—Assurance of discontinuance—Effect.
                                                                                                                  19.16.480                     Violation of injunction—Civil penalty.
     19.09.913 Effective date—1986 c 230. This act shall                                                          19.16.500                     Public bodies may retain collection agencies to collect public
     19.09.913 Effective date—1986 c 230.
     19.09.913




                                                                                                                                                  debts—Fees.
take effect on January 1, 1987. [1986 c 230 § 21.]                                                                19.16.510                     Uniform regulation of business and professions act.
                                                                                                                  19.16.900                     Provisions cumulative—Violation of RCW 19.16.250 deemed
     19.09.915 Effective date—1993 c 471. This act is nec-                                                                                        civil.
     19.09.915 Effective date—1993 c 471.
     19.09.915




essary for the immediate preservation of the public peace,                                                        19.16.920                     Provisions exclusive—Authority of political subdivisions to
                                                                                                                                                  levy business and occupation taxes not affected.
health, or safety, or support of the state government and its                                                     19.16.930                     Effective date—1971 ex.s. c 253.
existing public institutions, and shall take effect July 1, 1993.                                                 19.16.940                     Short title.
[1993 c 471 § 44.]                                                                                                19.16.950                     Section headings.
                                                                                                                  19.16.960                     Construction—Chapter applicable to state registered domestic
                                                                                                                                                  partnerships—2009 c 521.
     19.09.916 Construction—Chapter applicable to state
     19.09.916 Construction—Chapter applicable to state registered domestic partnerships—2009 c 521.
     19.09.916




registered domestic partnerships—2009 c 521. For the                                                                   19.16.100 Definitions. Unless a different meaning is
                                                                                                                       19.16.100 Definitions.
                                                                                                                       19.16.100




purposes of this chapter, the terms spouse, marriage, marital,                                                    plainly required by the context, the following words and
husband, wife, widow, widower, next of kin, and family shall                                                      phrases as hereinafter used in this chapter shall have the fol-
be interpreted as applying equally to state registered domestic                                                   lowing meanings:
partnerships or individuals in state registered domestic part-                                                         (1) "Board" means the Washington state collection
nerships as well as to marital relationships and married per-                                                     agency board.
sons, and references to dissolution of marriage shall apply                                                            (2) "Claim" means any obligation for the payment of
equally to state registered domestic partnerships that have                                                       money or thing of value arising out of any agreement or con-
been terminated, dissolved, or invalidated, to the extent that                                                    tract, express or implied.
such interpretation does not conflict with federal law. Where                                                          (3) "Client" or "customer" means any person authorizing
necessary to implement chapter 521, Laws of 2009, gender-                                                         or employing a collection agency to collect a claim.
specific terms such as husband and wife used in any statute,                                                           (4) "Collection agency" means and includes:
rule, or other law shall be construed to be gender neutral, and                                                        (a) Any person directly or indirectly engaged in solicit-
applicable to individuals in state registered domestic partner-                                                   ing claims for collection, or collecting or attempting to col-
ships. [2009 c 521 § 51.]                                                                                         lect claims owed or due or asserted to be owed or due another
                                                                                                                  person;
     Chapter 19.16
                                                         Chapter 19.16 RCW                                             (b) Any person who directly or indirectly furnishes or
                                                       COLLECTION AGENCIES                                        attempts to furnish, sells, or offers to sell forms represented to
     19.16 COLLECTION AGENCIES




Sections
                                                                                                                  be a collection system or scheme intended or calculated to be
                                                                                                                  used to collect claims even though the forms direct the debtor
19.16.100                           Definitions.                                                                  to make payment to the creditor and even though the forms
19.16.110                           License required.
19.16.120                           Unprofessional conduct—Support order, noncompliance.                          may be or are actually used by the creditor himself or herself
19.16.130                           License—Application—Form—Contents.                                            in his or her own name;
19.16.140                           License—Application—Fees—Exemptions.
19.16.150                           Branch office certificate required.                                                (c) Any person who in attempting to collect or in collect-
19.16.160                           License and branch office certificate—Form—Contents—Dis-                      ing his or her own claim uses a fictitious name or any name
                                      play.                                                                       other than his or her own which would indicate to the debtor
19.16.170                           Procedure upon change of name or business location.
19.16.180                           Assignability of license or branch office certificate.                        that a third person is collecting or attempting to collect such
19.16.190                           Surety bond requirements—Cash deposit or securities—                          claim;
                                      Exception.
19.16.200                           Action on bond, cash deposit or securities.                                        (d) Any person or entity that is engaged in the business
19.16.210                           Accounting and payments by licensee to customer.                              of purchasing delinquent or charged off claims for collection
19.16.220                           Accounting and payments by customer to licensee.                              purposes, whether it collects the claims itself or hires a third
19.16.230                           Licensee—Business office—Records to be kept.
19.16.240                           Licensee—Trust fund account—Exception.                                        party for collection or an attorney for litigation in order to
19.16.245                           Financial statement.                                                          collect such claims;
(2019 Ed.)                                                                                                                                                                         [Title 19 RCW—page 19]
                Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 62 of 80
19.16.110                            Title 19 RCW: Business Regulations—Miscellaneous

     (e) Any person or entity attempting to enforce a lien          include any person who is excluded from the definition of the
under chapter 60.44 RCW, other than the person or entity            term "debt collector" under the federal fair debt collection
originally entitled to the lien.                                    practices act (15 U.S.C. Sec. 1692a(6)).
     (5) "Collection agency" does not mean and does not                  (12) "Person" includes individual, firm, partnership,
include:                                                            trust, joint venture, association, or corporation.
     (a) Any individual engaged in soliciting claims for col-            (13) "Statement of account" means a report setting forth
lection, or collecting or attempting to collect claims on behalf    only amounts billed, invoices, credits allowed, or aged bal-
of a licensee under this chapter, if said individual is an          ance due. [2019 c 227 § 3; 2015 c 201 § 3. Prior: 2013 c 148
employee of the licensee;                                           § 1; 2003 c 203 § 1; prior: 2001 c 47 § 1; 2001 c 43 § 1; 1994
     (b) Any individual collecting or attempting to collect         c 195 § 1; 1990 c 190 § 1; 1979 c 158 § 81; 1971 ex.s. c 253
claims for not more than one employer, if all the collection        § 1.]
efforts are carried on in the name of the employer and if the            Effective date—2013 c 148 §§ 1 and 3: "Sections 1 and 3 of this act
individual is an employee of the employer;                          take effect October 1, 2013." [2013 c 148 § 4.]
     (c) Any person whose collection activities are carried on
in his, her, or its true name and are confined and are directly          19.16.110 License required. No person shall act,
                                                                         19.16.110 License required.
                                                                         19.16.110




related to the operation of a business other than that of a col-    assume to act, or advertise as a collection agency or out-of-
lection agency, such as but not limited to: Trust companies;        state collection agency as defined in this chapter, except as
savings and loan associations; building and loan associations;      authorized by this chapter, without first having applied for
abstract companies doing an escrow business; real estate bro-       and obtained a license from the director.
kers; property management companies collecting assess-                   Nothing contained in this section shall be construed to
ments, charges, or fines on behalf of condominium unit own-         require a regular employee of a collection agency or out-of-
ers associations, associations of apartment owners, or home-        state collection agency duly licensed under this chapter to
owners' associations; public officers acting in their official      procure a collection agency license. [1994 c 195 § 2; 1971
capacities; persons acting under court order; lawyers; insur-       ex.s. c 253 § 2.]
ance companies; credit unions; loan or finance companies;
mortgage banks; and banks;                                               19.16.120 Unprofessional conduct—Support order,
                                                                         19.16.120 Unprofessional conduct—Support order, noncompliance.
                                                                         19.16.120




     (d) Any person who on behalf of another person prepares        noncompliance. In addition to other provisions of this chap-
or mails monthly or periodic statements of accounts due if all      ter, and the unprofessional conduct described in RCW
payments are made to that other person and no other collec-         18.235.130, the following conduct, acts, or conditions consti-
tion efforts are made by the person preparing the statements        tute unprofessional conduct:
of account;                                                              (1) If an individual applicant or licensee is less than eigh-
     (e) An "out-of-state collection agency" as defined in this     teen years of age or is not a resident of this state.
chapter; or                                                              (2) If an applicant or licensee is not authorized to do
     (f) Any person while acting as a debt collector for            business in this state.
another person, both of whom are related by common owner-                (3) If the application or renewal forms required by this
ship or affiliated by corporate control, if the person acting as    chapter are incomplete, fees required under RCW 19.16.140
a debt collector does so only for persons to whom it is so          and 19.16.150, if applicable, have not been paid, and the
related or affiliated and if the principal business of the person   surety bond or cash deposit or other negotiable security
is not the collection of debts.                                     acceptable to the director required by RCW 19.16.190, if
     (6) "Commercial claim" means any obligation for pay-           applicable, has not been filed or renewed or is canceled.
ment of money or thing of value arising out of any agreement             (4) If any individual applicant, owner, officer, director,
or contract, express or implied, where the transaction which        or managing employee of a nonindividual applicant or
is the subject of the agreement or contract is not primarily for    licensee:
personal, family, or household purposes.                                 (a) Has had any judgment entered against him or her in
     (7) "Debtor" means any person owing or alleged to owe          any civil action involving forgery, embezzlement, obtaining
a claim.                                                            money under false pretenses, larceny, extortion, or conspir-
     (8) "Director" means the director of licensing.                acy to defraud and five years have not elapsed since the date
     (9) "Licensee" means any person licensed under this            of the entry of the final judgment in said action: PROVIDED,
chapter.                                                            That in no event shall a license be issued unless the judgment
     (10) "Medical debt" means any obligation for the pay-          debt has been discharged;
ment of money arising out of any agreement or contract,                  (b) Has had his or her license to practice law suspended
express or implied, for the provision of health care services as    or revoked and two years have not elapsed since the date of
defined in RCW 48.44.010. In the context of "medical debt,"         such suspension or revocation, unless he or she has been rel-
"charity care" has the same meaning as provided in RCW              icensed to practice law in this state;
70.170.020.                                                              (c) Has had any judgment entered against such a person
     (11) "Out-of-state collection agency" means a person           under the provisions of RCW 19.86.080 or 19.86.090 involv-
whose activities within this state are limited to collecting        ing a violation or violations of RCW 19.86.020 and two years
debts from debtors located in this state by means of interstate     have not elapsed since the entry of the final judgment: PRO-
communications, including telephone, mail, or facsimile             VIDED, That in no event shall a license be issued unless the
transmission, from the person's location in another state on        terms of such judgment, if any, have been fully complied
behalf of clients located outside of this state, but does not       with: PROVIDED FURTHER, That said judgment shall not
[Title 19 RCW—page 20]                                                                                                                    (2019 Ed.)
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 63 of 80




   EXHIBIT 6
       Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 64 of 80



                          CERTIFICATION OF ENROLLMENT

                          SUBSTITUTE HOUSE BILL 1822


                           Chapter 148, Laws of 2013


                               63rd Legislature
                             2013 Regular Session


                           DEBT COLLECTION PRACTICES



EFFECTIVE DATE: 07/28/13 - Except sections 1 and 3, which become
effective 10/01/13.



Passed by the House March 9, 2013                       CERTIFICATE
  Yeas 97 Nays 0
                                           I, Barbara Baker, Chief Clerk of
                                           the House of Representatives of
               FRANK CHOPP                 the State of Washington, do hereby
                                           certify   that    the   attached  is
Speaker of the House of Representatives    SUBSTITUTE    HOUSE   BILL   1822 as
                                           passed     by     the     House   of
                                           Representatives and the Senate on
                                           the dates hereon set forth.
Passed by the Senate April 17, 2013
  Yeas 48 Nays 0

                                                       BARBARA BAKER
                BRAD OWEN                                              Chief Clerk
President of the Senate
Approved May 7, 2013, 2:05 p.m.                            FILED

                                                        May 7, 2013




               JAY INSLEE                               Secretary of State
                                                        State of Washington
Governor of the State of Washington
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 65 of 80
                 _____________________________________________

                           SUBSTITUTE HOUSE BILL 1822
                 _____________________________________________

                    Passed Legislature - 2013 Regular Session

     State of Washington          63rd Legislature            2013 Regular Session

     By House Judiciary (originally sponsored by Representative Stanford)

     READ FIRST TIME 02/22/13.




1        AN ACT Relating to debt collection practices; amending RCW
2    19.16.100, 19.16.250, and 19.16.260; and providing an effective date.


 3   BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF WASHINGTON:


 4       Sec. 1. RCW 19.16.100 and 2003 c 203 s 1 are each amended to read
 5   as follows:
 6       Unless a different meaning is plainly required by the context, the
 7   following words and phrases as hereinafter used in this chapter shall
 8   have the following meanings:
 9       (1) "Person" includes individual, firm, partnership, trust, joint
10   venture, association, or corporation.
11       (2) "Collection agency" means and includes:
12       (a) Any person directly or indirectly engaged in soliciting claims
13   for collection, or collecting or attempting to collect claims owed or
14   due or asserted to be owed or due another person;
15       (b) Any person who directly or indirectly furnishes or attempts to
16   furnish, sells, or offers to sell forms represented to be a collection
17   system or scheme intended or calculated to be used to collect claims
18   even though the forms direct the debtor to make payment to the creditor




                                         p. 1                           SHB 1822.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 66 of 80
 1   and even though the forms may be or are actually used by the creditor
 2   himself or herself in his or her own name;
 3       (c) Any person who in attempting to collect or in collecting his or
 4   her own claim uses a fictitious name or any name other than his or her
 5   own which would indicate to the debtor that a third person is
 6   collecting or attempting to collect such claim;
 7       (d) Any person or entity that is engaged in the business of
 8   purchasing delinquent or charged off claims for collection purposes,
 9   whether it collects the claims itself or hires a third party for
10   collection or an attorney for litigation in order to collect such
11   claims.
12       (3) "Collection agency" does not mean and does not include:
13       (a) Any individual engaged in soliciting claims for collection, or
14   collecting or attempting to collect claims on behalf of a licensee
15   under this chapter, if said individual is an employee of the licensee;
16       (b) Any individual collecting or attempting to collect claims for
17   not more than one employer, if all the collection efforts are carried
18   on in the name of the employer and if the individual is an employee of
19   the employer;
20       (c) Any person whose collection activities are carried on in his,
21   her, or its true name and are confined and are directly related to the
22   operation of a business other than that of a collection agency, such as
23   but not limited to: Trust companies; savings and loan associations;
24   building and loan associations; abstract companies doing an escrow
25   business; real estate brokers; property management companies collecting
26   assessments, charges, or fines on behalf of condominium unit owners
27   associations, associations of apartment owners, or homeowners'
28   associations; public officers acting in their official capacities;
29   persons acting under court order; lawyers; insurance companies; credit
30   unions; loan or finance companies; mortgage banks; and banks;
31       (d) Any person who on behalf of another person prepares or mails
32   monthly or periodic statements of accounts due if all payments are made
33   to that other person and no other collection efforts are made by the
34   person preparing the statements of account;
35       (e) An "out-of-state collection agency" as defined in this chapter;
36   or
37       (f) Any person while acting as a debt collector for another person,
38   both of whom are related by common ownership or affiliated by corporate



     SHB 1822.SL                         p. 2
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 67 of 80
 1   control, if the person acting as a debt collector does so only for
 2   persons to whom it is so related or affiliated and if the principal
 3   business of the person is not the collection of debts.
 4       (4) "Out-of-state collection agency" means a person whose
 5   activities within this state are limited to collecting debts from
 6   debtors located in this state by means of interstate communications,
 7   including telephone, mail, or facsimile transmission, from the person's
 8   location in another state on behalf of clients located outside of this
 9   state, but does not include any person who is excluded from the
10   definition of the term "debt collector" under the federal fair debt
11   collection practices act (15 U.S.C. Sec. 1692a(6)).
12       (5) "Claim" means any obligation for the payment of money or thing
13   of value arising out of any agreement or contract, express or implied.
14       (6) "Statement of account" means a report setting forth only
15   amounts billed, invoices, credits allowed, or aged balance due.
16       (7) "Director" means the director of licensing.
17       (8) "Client" or "customer" means any person authorizing or
18   employing a collection agency to collect a claim.
19       (9) "Licensee" means any person licensed under this chapter.
20       (10) "Board" means the Washington state collection agency board.
21       (11) "Debtor" means any person owing or alleged to owe a claim.
22       (12) "Commercial claim" means any obligation for payment of money
23   or thing of value arising out of any agreement or contract, express or
24   implied, where the transaction which is the subject of the agreement or
25   contract is not primarily for personal, family, or household purposes.


26       Sec. 2. RCW 19.16.250 and 2011 1st sp.s. c 29 s 2 are each amended
27   to read as follows:
28       No licensee or employee of a licensee shall:
29       (1) Directly or indirectly aid or abet any unlicensed person to
30   engage in business as a collection agency in this state or receive
31   compensation from such unlicensed person: PROVIDED, That nothing in
32   this chapter shall prevent a licensee from accepting, as forwardee,
33   claims for collection from a collection agency or attorney whose place
34   of business is outside the state.
35       (2) Collect or attempt to collect a claim by the use of any means
36   contrary to the postal laws and regulations of the United States postal
37   department.



                                         p. 3                           SHB 1822.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 68 of 80
 1       (3) Publish or post or cause to be published or posted, any list of
 2   debtors commonly known as "bad debt lists" or threaten to do so. For
 3   purposes of this chapter, a "bad debt list" means any list of natural
 4   persons alleged to fail to honor their lawful debts. However, nothing
 5   herein shall be construed to prohibit a licensee from communicating to
 6   its customers or clients by means of a coded list, the existence of a
 7   check dishonored because of insufficient funds, not sufficient funds or
 8   closed account by the financial institution servicing the debtor's
 9   checking account: PROVIDED, That the debtor's identity is not readily
10   apparent:   PROVIDED FURTHER, That the licensee complies with the
11   requirements of subsection (10)(e) of this section.
12       (4) Have in his or her possession or make use of any badge, use a
13   uniform of any law enforcement agency or any simulation thereof, or
14   make any statements which might be construed as indicating an official
15   connection with any federal, state, county, or city law enforcement
16   agency, or any other governmental agency, while engaged in collection
17   agency business.
18       (5) Perform any act or acts, either directly or indirectly,
19   constituting the unauthorized practice of law.
20       (6) Advertise for sale or threaten to advertise for sale any claim
21   as a means of endeavoring to enforce payment thereof or agreeing to do
22   so for the purpose of soliciting claims, except where the licensee has
23   acquired claims as an assignee for the benefit of creditors or where
24   the licensee is acting under court order.
25       (7) Use any name while engaged in the making of a demand for any
26   claim other than the name set forth on his or her or its current
27   license issued hereunder.
28       (8) Give or send to any debtor or cause to be given or sent to any
29   debtor, any notice, letter, message, or form, other than through proper
30   legal action, process, or proceedings, which represents or implies that
31   a claim exists unless it shall indicate in clear and legible type:
32       (a) The name of the licensee and the city, street, and number at
33   which he or she is licensed to do business;
34       (b) The name of the original creditor to whom the debtor owed the
35   claim if such name is known to the licensee or employee: PROVIDED,
36   That upon written request of the debtor, the licensee shall provide
37   this name to the debtor or cease efforts to collect on the debt until
38   this information is provided;



     SHB 1822.SL                         p. 4
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 69 of 80
 1       (c) If the notice, letter, message, or form is the first notice to
 2   the debtor or if the licensee is attempting to collect a different
 3   amount than indicated in his or her or its first notice to the debtor,
 4   an itemization of the claim asserted must be made including:
 5       (i) Amount owing on the original obligation at the time it was
 6   received by the licensee for collection or by assignment;
 7       (ii) Interest or service charge, collection costs, or late payment
 8   charges, if any, added to the original obligation by the original
 9   creditor, customer or assignor before it was received by the licensee
10   for collection, if such information is known by the licensee or
11   employee: PROVIDED, That upon written request of the debtor, the
12   licensee shall make a reasonable effort to obtain information on such
13   items and provide this information to the debtor;
14       (iii) Interest or service charge, if any, added by the licensee or
15   customer or assignor after the obligation was received by the licensee
16   for collection;
17       (iv) Collection costs, if any, that the licensee is attempting to
18   collect;
19       (v) Attorneys' fees, if any, that the licensee is attempting to
20   collect on his or her or its behalf or on the behalf of a customer or
21   assignor; and
22       (vi) Any other charge or fee that the licensee is attempting to
23   collect on his or her or its own behalf or on the behalf of a customer
24   or assignor;
25       (d) If the notice, letter, message, or form concerns a judgment
26   obtained against the debtor, no itemization of the amounts contained in
27   the judgment is required, except postjudgment interest, if claimed, and
28   the current account balance;
29       (e) If the notice, letter, message, or form is the first notice to
30   the debtor, an itemization of the claim asserted must be made including
31   the following information:
32       (i) The original account number or redacted original account number
33   assigned to the debt, if known to the licensee or employee: PROVIDED,
34   That upon written request of the debtor, the licensee must make a
35   reasonable effort to obtain this information or cease efforts to
36   collect on the debt until this information is provided; and
37       (ii) The date of the last payment to the creditor on the subject
38   debt by the debtor, if known to the licensee or employee: PROVIDED,



                                         p. 5                           SHB 1822.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 70 of 80
 1   That upon written request of the debtor, the licensee must make a
 2   reasonable effort to obtain this information or cease efforts to
 3   collect on the debt until this information is provided.
 4       (9) Communicate in writing with a debtor concerning a claim through
 5   a proper legal action, process, or proceeding, where such communication
 6   is the first written communication with the debtor, without providing
 7   the information set forth in subsection (8)(c) of this section in the
 8   written communication.
 9       (10) Communicate or threaten to communicate, the existence of a
10   claim to a person other than one who might be reasonably expected to be
11   liable on the claim in any manner other than through proper legal
12   action, process, or proceedings except under the following conditions:
13       (a) A licensee or employee of a licensee may inform a credit
14   reporting bureau of the existence of a claim. If the licensee or
15   employee of a licensee reports a claim to a credit reporting bureau,
16   the licensee shall, upon receipt of written notice from the debtor that
17   any part of the claim is disputed, notify the credit reporting bureau
18   of the dispute by written or electronic means and create a record of
19   the fact of the notification and when the notification was provided;
20       (b) A licensee or employee in collecting or attempting to collect
21   a claim may communicate the existence of a claim to a debtor's employer
22   if the claim has been reduced to a judgment;
23       (c) A licensee or employee in collecting or attempting to collect
24   a claim that has not been reduced to judgment, may communicate the
25   existence of a claim to a debtor's employer if:
26       (i) The licensee or employee has notified or attempted to notify
27   the debtor in writing at his or her last known address or place of
28   employment concerning the claim and the debtor after a reasonable time
29   has failed to pay the claim or has failed to agree to make payments on
30   the claim in a manner acceptable to the licensee, and
31       (ii) The debtor has not in writing to the licensee disputed any
32   part of the claim: PROVIDED, That the licensee or employee may only
33   communicate the existence of a claim which has not been reduced to
34   judgment to the debtor's employer once unless the debtor's employer has
35   agreed to additional communications.
36       (d) A licensee may for the purpose of locating the debtor or
37   locating assets of the debtor communicate the existence of a claim to




     SHB 1822.SL                         p. 6
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 71 of 80
 1   any person who might reasonably be expected to have knowledge of the
 2   whereabouts of a debtor or the location of assets of the debtor if the
 3   claim is reduced to judgment, or if not reduced to judgment, when:
 4       (i) The licensee or employee has notified or attempted to notify
 5   the debtor in writing at his or her last known address or last known
 6   place of employment concerning the claim and the debtor after a
 7   reasonable time has failed to pay the claim or has failed to agree to
 8   make payments on the claim in a manner acceptable to the licensee, and
 9       (ii) The debtor has not in writing disputed any part of the claim.
10       (e) A licensee may communicate the existence of a claim to its
11   customers or clients if the claim is reduced to judgment, or if not
12   reduced to judgment, when:
13       (i) The licensee has notified or attempted to notify the debtor in
14   writing at his or her last known address or last known place of
15   employment concerning the claim and the debtor after a reasonable time
16   has failed to pay the claim or has failed to agree to make payments on
17   the claim in a manner acceptable to the licensee, and
18       (ii) The debtor has not in writing disputed any part of the claim.
19       (11) Threaten the debtor with impairment of his or her credit
20   rating if a claim is not paid: PROVIDED, That advising a debtor that
21   the licensee has reported or intends to report a claim to a credit
22   reporting agency is not considered a threat if the licensee actually
23   has reported or intends to report the claim to a credit reporting
24   agency.
25       (12) Communicate with the debtor after notification in writing from
26   an attorney representing such debtor that all further communications
27   relative to a claim should be addressed to the attorney: PROVIDED,
28   That if a licensee requests in writing information from an attorney
29   regarding such claim and the attorney does not respond within a
30   reasonable time, the licensee may communicate directly with the debtor
31   until he or she or it again receives notification in writing that an
32   attorney is representing the debtor.
33       (13) Communicate with a debtor or anyone else in such a manner as
34   to harass, intimidate, threaten, or embarrass a debtor, including but
35   not limited to communication at an unreasonable hour, with unreasonable
36   frequency, by threats of force or violence, by threats of criminal
37   prosecution, and by use of offensive language. A communication shall
38   be presumed to have been made for the purposes of harassment if:



                                         p. 7                           SHB 1822.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 72 of 80
 1       (a) It is made with a debtor or spouse in any form, manner, or
 2   place, more than three times in a single week, unless the licensee is
 3   responding to a communication from the debtor or spouse;
 4       (b) It is made with a debtor at his or her place of employment more
 5   than one time in a single week, unless the licensee is responding to a
 6   communication from the debtor;
 7       (c) It is made with the debtor or spouse at his or her place of
 8   residence between the hours of 9:00 p.m. and 7:30 a.m. A call to a
 9   telephone is presumed to be received in the local time zone to which
10   the area code of the number called is assigned for landline numbers,
11   unless the licensee reasonably believes the telephone is located in a
12   different time zone. If the area code is not assigned to landlines in
13   any specific geographic area, such as with toll-free telephone numbers,
14   a call to a telephone is presumed to be received in the local time zone
15   of the debtor's last known place of residence, unless the licensee
16   reasonably believes the telephone is located in a different time zone.
17       (14) Communicate with the debtor through use of forms or
18   instruments that simulate the form or appearance of judicial process,
19   the form or appearance of government documents, or the simulation of a
20   form or appearance of a telegraphic or emergency message.
21       (15) Communicate with the debtor and represent or imply that the
22   existing obligation of the debtor may be or has been increased by the
23   addition of attorney fees, investigation fees, service fees, or any
24   other fees or charges when in fact such fees or charges may not legally
25   be added to the existing obligation of such debtor.
26       (16) Threaten to take any action against the debtor which the
27   licensee cannot legally take at the time the threat is made.
28       (17) Send any telegram or make any telephone calls to a debtor or
29   concerning a debt or for the purpose of demanding payment of a claim or
30   seeking information about a debtor, for which the charges are payable
31   by the addressee or by the person to whom the call is made: PROVIDED,
32   That:
33       (a) This subsection does not prohibit a licensee from attempting to
34   communicate by way of a cellular telephone or other wireless device:
35   PROVIDED, That a licensee cannot cause charges to be incurred to the
36   recipient of the attempted communication more than three times in any
37   calendar week when the licensee knows or reasonably should know that




     SHB 1822.SL                         p. 8
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 73 of 80
 1   the number belongs to a cellular telephone or other wireless device,
 2   unless the licensee is responding to a communication from the debtor or
 3   the person to whom the call is made.
 4       (b) The licensee is not in violation of (a) of this subsection if
 5   the licensee at least monthly updates its records with information
 6   provided by a commercial provider of cellular telephone lists that the
 7   licensee in good faith believes provides reasonably current and
 8   comprehensive data identifying cellular telephone numbers, calls a
 9   number not appearing in the most recent list provided by the commercial
10   provider, and does not otherwise know or reasonably should know that
11   the number belongs to a cellular telephone.
12       (c) This subsection may not be construed to increase the number of
13   communications permitted pursuant to subsection (13)(a) of this
14   section.
15       (18) Call, or send a text message or other electronic communication
16   to, a cellular telephone or other wireless device more than twice in
17   any day when the licensee knows or reasonably should know that the
18   number belongs to a cellular telephone or other wireless device, unless
19   the licensee is responding to a communication from the debtor or the
20   person to whom the call, text message, or other electronic
21   communication is made. The licensee is not in violation of this
22   subsection if the licensee at least monthly updates its records with
23   information provided by a commercial provider of cellular telephone
24   lists that the licensee in good faith believes provides reasonably
25   current and comprehensive data identifying cellular telephone numbers,
26   calls a number not appearing in the most recent list provided by the
27   commercial provider, and does not otherwise know or reasonably should
28   know that the number belongs to a cellular telephone. Nothing in this
29   subsection may be construed to increase the number of communications
30   permitted pursuant to subsection (13)(a) of this section.
31       (19) Intentionally block its telephone number from displaying on a
32   debtor's telephone.
33       (20) In any manner convey the impression that the licensee is
34   vouched for, bonded to or by, or is an instrumentality of the state of
35   Washington or any agency or department thereof.
36       (21) Collect or attempt to collect in addition to the principal
37   amount of a claim any sum other than allowable interest, collection
38   costs or handling fees expressly authorized by statute, and, in the



                                         p. 9                           SHB 1822.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 74 of 80
 1   case of suit, attorney's fees and taxable court costs. A licensee may
 2   collect or attempt to collect collection costs and fees, including
 3   contingent collection fees, as authorized by a written agreement or
 4   contract, between the licensee's client and the debtor, in the
 5   collection of a commercial claim. The amount charged to the debtor for
 6   collection services shall not exceed thirty-five percent of the
 7   commercial claim.
 8       (22) Procure from a debtor or collect or attempt to collect on any
 9   written note, contract, stipulation, promise or acknowledgment under
10   which a debtor may be required to pay any sum other than principal,
11   allowable interest, except as noted in subsection (21) of this section,
12   and, in the case of suit, attorney's fees and taxable court costs.
13       (23) Bring an action or initiate an arbitration proceeding on a
14   claim when the licensee knows, or reasonably should know, that such
15   suit or arbitration is barred by the applicable statute of limitations.
16       (24) Upon notification by a debtor that the debtor disputes all
17   debts arising from a series of dishonored checks, automated
18   clearinghouse transactions on a demand deposit account, or other
19   preprinted written instruments, initiate oral contact with a debtor
20   more than one time in an attempt to collect from the debtor debts
21   arising from the identified series of dishonored checks, automated
22   clearinghouse transactions on a demand deposit account, or other
23   preprinted written instruments when: (a) Within the previous one
24   hundred eighty days, in response to the licensee's attempt to collect
25   the initial debt assigned to the licensee and arising from the
26   identified series of dishonored checks, automated clearinghouse
27   transactions on a demand deposit account, or other preprinted written
28   instruments, the debtor in writing notified the licensee that the
29   debtor's checkbook or other series of preprinted written instruments
30   was stolen or fraudulently created; (b) the licensee has received from
31   the debtor a certified copy of a police report referencing the theft or
32   fraudulent creation of the checkbook, automated clearinghouse
33   transactions on a demand deposit account, or series of preprinted
34   written instruments; (c) in the written notification to the licensee or
35   in the police report, the debtor identified the financial institution
36   where the account was maintained, the account number, the magnetic ink
37   character recognition number, the full bank routing and transit number,
38   and the check numbers of the stolen checks, automated clearinghouse



     SHB 1822.SL                         p. 10
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 75 of 80
 1   transactions on a demand deposit account, or other preprinted written
 2   instruments, which check numbers included the number of the check that
 3   is the subject of the licensee's collection efforts; (d) the debtor
 4   provides, or within the previous one hundred eighty days provided, to
 5   the   licensee   a   legible   copy  of   a   government-issued   photo
 6   identification, which contains the debtor's signature and which was
 7   issued prior to the date of the theft or fraud identified in the police
 8   report; and (e) the debtor advised the licensee that the subject debt
 9   is disputed because the identified check, automated clearinghouse
10   transaction on a demand deposit account, or other preprinted written
11   instrument underlying the debt is a stolen or fraudulently created
12   check or instrument.
13       The licensee is not in violation of this subsection if the licensee
14   initiates oral contact with the debtor more than one time in an attempt
15   to collect debts arising from the identified series of dishonored
16   checks, automated clearinghouse transactions on a demand deposit
17   account, or other preprinted written instruments when:         (i) The
18   licensee acted in good faith and relied on their established practices
19   and procedures for batching, recording, or packeting debtor accounts,
20   and the licensee inadvertently initiates oral contact with the debtor
21   in an attempt to collect debts in the identified series subsequent to
22   the initial debt assigned to the licensee; (ii) the licensee is
23   following up on collection of a debt assigned to the licensee, and the
24   debtor has previously requested more information from the licensee
25   regarding the subject debt; (iii) the debtor has notified the licensee
26   that the debtor disputes only some, but not all the debts arising from
27   the identified series of dishonored checks, automated clearinghouse
28   transactions on a demand deposit account, or other preprinted written
29   instruments, in which case the licensee shall be allowed to initiate
30   oral contact with the debtor one time for each debt arising from the
31   series of identified checks, automated clearinghouse transactions on a
32   demand deposit account, or written instruments and initiate additional
33   oral contact for those debts that the debtor acknowledges do not arise
34   from stolen or fraudulently created checks or written instruments; (iv)
35   the oral contact is in the context of a judicial, administrative,
36   arbitration, mediation, or similar proceeding; or (v) the oral contact
37   is made for the purpose of investigating, confirming, or authenticating
38   the information received from the debtor, to provide additional



                                         p. 11                          SHB 1822.SL
           Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 76 of 80
1    information to the debtor, or to request additional information from
2    the debtor needed by the licensee to accurately record the debtor's
3    information in the licensee's records.
4        (25) Submit an affidavit or other request pursuant to chapter 6.32
5    RCW asking a superior or district court to transfer a bond posted by a
6    debtor subject to a money judgment to the licensee, when the debtor has
7    appeared as required.


 8       Sec. 3. RCW 19.16.260 and 2011 c 336 s 521 are each amended to
 9   read as follows:
10       No collection agency or out-of-state collection agency may bring or
11   maintain an action in any court of this state involving the collection
12   of its own claim or a claim of any third party without alleging and
13   proving that he, she, or it is duly licensed under this chapter and has
14   satisfied the bonding requirements hereof, if applicable: PROVIDED,
15   That in any case where judgment is to be entered by default, it shall
16   not be necessary for the collection agency or out-of-state collection
17   agency to prove such matters.
18       A copy of the current collection agency license or out-of-state
19   collection agency license, certified by the director to be a true and
20   correct copy of the original, shall be prima facie evidence of the
21   licensing and bonding of such collection agency or out-of-state
22   collection agency as required by this chapter.


23       NEW SECTION. Sec. 4. Sections 1 and 3 of this act take effect
24   October 1, 2013.
         Passed by the House March 9, 2013.
         Passed by the Senate April 17, 2013.
         Approved by the Governor May 7, 2013.
         Filed in Office of Secretary of State May 7, 2013.




     SHB 1822.SL                         p. 12
Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 77 of 80




   EXHIBIT 7
         Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 78 of 80


                                FINAL BILL REPORT
                                     SHB 2476

                                             C 30 L 20
                                         Synopsis as Enacted

Brief Description: Concerning debt buyers.

Sponsors: House Committee on Civil Rights & Judiciary (originally sponsored by
   Representatives Walen, Duerr, Kloba, Kilduff, Leavitt, Lekanoff, Orwall, Davis, Doglio,
   Frame, Macri, Goodman and Ormsby).

House Committee on Civil Rights & Judiciary
Senate Committee on Law & Justice

    Background:

    Collection agencies are regulated by the Collection Agency Act (CAA). The CAA creates a
    licensing system, establishes a regulatory board, sets forth requirements and prohibited
    practices, and provides remedies. The term collection agency is defined to encompass
    several categories of persons and entities, including any person or entity that is engaged in
    the business of purchasing delinquent or charged off claims for collection purposes, whether
    it collects the claims itself or hires a third party for collection or an attorney for litigation in
    order to collect such claims.

    A claim is any obligation for the payment of money or thing of value arising out of any
    agreement or contract, express or implied. This includes personal, household, family, and
    business debts.

    No person or business may act as a collection agency without first acquiring a license from
    the Department of Licensing (DOL). The DOL may deny, revoke, not renew, or suspend
    licenses for reasons related to conduct, financial circumstances, and noncompliance with the
    law.

    The CAA sets forth a number of prohibited practices. For example, collection agencies may
    not:
          contact a debtor with excessive frequency or at an unreasonable hour;
          publish an individual's debt or share the amount due with a third party; or
          misrepresent themselves when communicating with a debtor.



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    This analysis was prepared by non-partisan legislative staff for the use of legislative
    members in their deliberations. This analysis is not a part of the legislation nor does it
    constitute a statement of legislative intent.

House Bill Report                                 -1-                                          SHB 2476
         Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 79 of 80


    Violations of these prohibited practices are declared to be unfair acts or practices or unfair
    methods of competition in the conduct of trade or commerce under the Consumer Protection
    Act. Individual debtors may file complaints with the regulatory board or with the Attorney
    General. Individuals may also bring civil suits against collection agencies for alleged
    violations of the CAA for injunctive relief and damages. If a prohibited act or practice is
    committed in the collection of a claim, the original claim or obligation may be recovered
    from the debtor, but neither the licensee, the customer of the licensee, nor any other person
    who may thereafter be legally entitled to collect is allowed to recover any interest, service
    charge, attorneys' fees, collection costs, delinquency charge, or any other fees or charges
    otherwise legally chargeable to the debtor on the claim.

    Summary:

    A new term, debt buyer, is specifically defined under the Collection Agency Act (CAA) to
    mean any person or entity that is engaged in the business of purchasing delinquent or charged
    off claims for collection purposes, whether it collects the claims itself or hires a third party
    for collection or an attorney for litigation in order to collect such claims. These persons and
    entities, now called debt buyers, continue to be one category or type of collection agency.

    Provisions are added to the CAA that are specific only to debt buyers. No debt buyer may:
         bring any legal action against a debtor without attaching to the complaint a copy of
           the contract or other writing evidencing the original debt that contains the signature of
           the debtor. Specific provision is made for a claim based on a credit card debt for
           which a signed writing does not exist or on an electronic transaction for which a
           signed writing never existed;
         request a default judgment against a debtor in any legal action without providing to
           the court evidence establishing certain enumerated facts in a form that satisfies the
           requirements of the court rule and statute governing business records as evidence; or
         bring any legal action against a debtor without disclosing in the complaint: that the
           action is being brought by a debt buyer; the date the claim or obligation was
           purchased; the identity of the person or entity from whom or which the claim or
           obligation was purchased; that the plaintiff may have purchased the claim or
           obligation for less than the value stated in the complaint; if the claim or obligation
           was at any time sold without any representation or warranty of accuracy, a statement
           to that effect; and that the action is being commenced within, and is not barred by, an
           applicable statute of limitations.

    Violations of these prohibited practices are unfair and deceptive practices or unfair methods
    of competition in the conduct of trade or commerce for purposes of the Consumer Protection
    Act. If one of these prohibited acts or practices is committed in the collection of a claim, the
    original claim or obligation may be recovered from the debtor, but neither the licensee, the
    customer of the licensee, nor any other person who may thereafter be legally entitled to
    collect is allowed to recover any interest, service charge, attorneys' fees, collection costs,
    delinquency charge, or any other fees or charges otherwise legally chargeable to the debtor
    on the claim.




House Bill Report                               -2-                                        SHB 2476
         Case 2:20-cv-01236-JLR Document 26 Filed 03/08/21 Page 80 of 80


    These amendments to the CAA apply prospectively only and not retroactively. They apply
    with respect to delinquent or charged off claims purchased for collection purposes by a debt
    buyer on or after the effective date.

    Votes on Final Passage:

        House       96   0
        Senate      48   0

    Effective: June 11, 2020




House Bill Report                              -3-                                      SHB 2476
